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                         UNITED STATES BANKRUPTCY COURT 
                                     DISTRICT OF COLORADO 
            
  In re:                                                        
                                                               Case No. 17‐13167 MER 
  Jill CLOW,                                                    
                                                               Chapter 13 
                                      Debtor. 
                                                                
                                                                
   
                       DEBTOR’S OBJECTION TO MTGLQ INVESTORS’ PROOF OF CLAIM 
                                                        
                                                        
               I, Jill Clow, Debtor, now as Pro Se, hereby make my Objections to MTGLQ’s Proof of 

  Claim and in support thereof, state as follows: 

  1.           My prior counsel, John Scanlan, allowed to withdraw on June 29, 2018, had 

  determined that an Objection to the Proof of Claim, submitted by MTGLQ Investors, LP 

  (“MTGLQ”) followed by an Evidentiary Hearing was the proper process for this Court to 

  review evidence to the contrary of that claim.    Unique to Mr. Scanlan’s approach was that 

  you never allow the opposing side to see the evidence that you have against their Proof of 

  Claim until the Evidentiary Hearing is held.    That strategy was severely flawed since it 

  generated conclusions by the Court that there was only one single issue that I raised 

  regarding the illegible indorsement on the Note in that Proof of Claim, instead of all the 

  issues to the “Objection” that I had gathered.    In this document, I will structure multiple 

  pieces of evidence in support of my objections to MTGLQ’s Proof of Claim. 


  2.           This Court is well aware of the three (3) sequential Proofs of Claim submitted by 

  MTGLQ and their counsel.              

  3.           In their first Proof of Claim, filed by Selene Finance, Leslie Leanhart stated that 

  “Money Loaned” was the basis for their claim (see Exhibit A:    1st POC).    MTGLQ never 

  loaned any money to me. 
                                                     1

   
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  4.        In their first Amended Proof of Claim, attorney Philip Traynor also stated that 

  “Money Loaned” was the basis for their Amended Claim (see Exhibit B:    Amended POC).   

  Again, no money was loaned to me by MTGLQ. 

  5.        In their second Amended (and final) Proof of Claim, Nicholas Santarelli stated that 

  “Mortgage Note/Loan” was the basis for their claim (see Exhibit C:    2nd Amended POC).     

  6.        All three sequential Proofs of Claim state that the “basis for perfection” was a 

  “Deed of Trust” or a “Recorded Deed of Trust” which does not speak to the purchase of, or 

  ownership of, the debt.    The transfer of the Deed of Trust without the Note is a nullity ‐ see 

  Carpenter v. Longan, 83 U.S. 271, 21 L. Ed. 313, 1872 U.S. L.E.X.I.S. 1157 (1873). 

  7.        The conflicting, alleged assignments on county record and as exhibits in this Proof 

  of Claim do not provide proof of validity to Claim #6.    An Assignment of a Deed of Trust is 

  insufficient as a matter of law to transfer anything of value.   The Deed of Trust is not a 

  negotiable instrument under C.R.S. 4‐3‐104 (3).    In CO2016 14SC586 CO31, Liberty 

  Mortgage Corp. v. Fiscus, the Colorado Court of Appeals held that Article 3 does not apply to 

  Deeds of Trust because they are not “negotiable instruments” as defined in the Code. 

  8.        None of MTGLQ’s Proofs of Claim ever stated they had received the rights as a 

  Creditor from an entity that had the rights of a Creditor.    They are not the original Creditor, 

  GMAC Mortgage Corporation (GMAC), and their Proofs of Claim do not include any evidence 

  of rights of the original Creditor passing over to MTGLQ.   

  9.          On January 20, 2017, MTGLQ sent me a Notice of Assignment, Sale or Transfer of 

  Ownership of Mortgage Loan 15 U.S.C. §1641(g) in which they state, “You are receiving this 

  Notice because the ownership of your mortgage loan identified below has been sold, assigned 

  or transferred to MTGLQ Investors, LP (“Covered Person”) (see Exhibit D:    1/20/17 Letter).   

  Blacks’ Dictionary defines a Mortgage Loan as, “Secured under a mortgage agreement 

  against real property this is an advanced loan installment” which I have never had with 

                                                  2

   
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  MTGLQ.    First of all, the loan was made in 2004 by GMAC.    We are now dealing with a 

  Deed of Trust and a Promissory Note ‐ neither of which is a Mortgage Loan.    Second of all, 

  MTGLQ is unclear as to whether or not there was a sale, an assignment or a transfer of some 

  type of document, but they failed to state which document was affected.    They are unclear 

  as to which type of transaction was made and each of the three transactions (sale, 

  assignment or transfer) are uniquely distinct.    Here, I have no way of knowing what type of 

  ownership MTGLQ is claiming, and the rights they may be entitled to, derive from that 

  transaction.   

  10.       Documentation attached to Claim #6 does not entitle MTGLQ to enforce the Note.   

  MTGLQ does not hold the Note as a Holder‐in‐due‐Course because the Note was allegedly 

  transferred while, according to the accounting provided by MTGLQ/ Selene, it was knowingly 

  overdue.    According to C.R.S. 4‐3‐302 (a) (2):    Holder in due Course: 


            (2) the holder took the instrument (i) for value, (ii) in good faith, (iii) 
            without notice that the instrument is overdue or has been dishonored or 
            that there is an uncured default with respect to payment of another 
            instrument issued as part of the same series, (iv) without notice that the 
            instrument contains an unauthorized signature or has been altered, (v) 
            without notice of any claim to the instrument described in Section 4‐3‐306, 
            and (vi) without notice that any party has a defense or claim in 
            recoupment described in Section 4‐3‐305(a).   

  11.       MTGLQ has never made the claim that they have purchased my debt, nor have they 

  provided evidence of that purchase in the form of a receipt, wire transfer or other form of 

  receipt for payment, so there is no evidence that the Note “was taken for value.” 

  12.       MTGLQ’s Proof of Claim, submitted into this bankruptcy on March 6, 2018, 

  indicates that MTGLQ was fully aware that the “instrument was overdue.”    See the 

  following pages of MTGLQ’s second Amended Proof of Claim (Exhibit C): 

            a) Page 2:    “Amount necessary to cure any default as of the date of the petition:   
            $47,722.32.” 


                                                  3

   
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            b) Page 4:    “Total Pre‐Petition Arrearages:    $47,722.32.” 

  13.       At this point MTGLQ is not a Holder‐in‐due‐Course (HIDC) and therefore, I have a 

  right to defend against their claim ‐ which allows me to go forward with my Objection.   

  According to C.R.S. 4‐3‐305: 

            (2) A defense of the obligor stated in another section of this article or a defense of 
            the obligor that would be available if the person entitled to enforce the instrument 
            were enforcing a right to payment under a simple contract;   
        
  14.       Since a previous holder can only pass along the rights that they are entitled to, no 

  other entity can obtain the rights that a previous holder had as these rights cannot be 

  passed on by entities that have not acquired the HIDC status.     

  15.       Nationstar Mortgage, LLC (Nationstar) through their own admission on numerous 

  occasions has stated that they did not own the Note or the Deed of Trust, but were the 

  Servicer for the Noteholder (see Exhibit E:    Fannie Mae Ownership Documents).    A person 

  who has no title cannot pass a title on.    Thus, a thief cannot pass legal title on to a good 

  faith purchaser.   

  16.       The rights of a Note purchaser are obtained from the predecessor owner in 

  accordance with C.R.S. §4‐3‐203(b), (often referred to as the Shelter Rule) and would greatly 

  affect the determination of MTGLQ’s rights in this case: 

            (b)  Transfer of an instrument, whether or not the transfer is a negotiation, vests in 
            the transferee any right of the transferor to enforce the instrument, including any 
            right as a holder in due course, but the transferee cannot acquire rights of a holder 
            in due course by a transfer, directly or indirectly, from a holder in due course if the 
            transferee engaged in fraud or illegality affecting the instrument. 
             
  17.       While the UCC recognizes the rights of a transferee in possession, the burden of 

  proving “transfer” is on the person holding the instrument, including proving the validity of 

  previous transfers.    According to one court, “the transferee does not enjoy the statutorily 

  provided assumption of the right to enforce the instrument that accompanies a negotiated 


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  instrument.”    The possessor of the note must prove both the fact of delivery and the 

  purpose of the delivery to qualify as “person entitled to enforce.”    Otherwise, a UPS driver, 

  or even Mr. Santarelli, could appear in Court making a Proof of Claim as “holders” who are 

  really “custodians” of the numerous Notes that they have in their “possession” as a function 

  of their jobs. 

  18.         Each Proof of Claim contains an illegible copy of a copy of my Promissory Note with 

  a smudge instead of an indorsement.    As discussed in my previous pleading, “Rebuttal to 

  Motion to Abandon,” I outlined the best evidence rule as a legal principle that holds an 

  original copy of a document as superior evidence.    The rule specifies that secondary 

  evidence, such as a copy or facsimile, will not be admissible if an original document exists 

  and can be obtained.    MTGLQ is an entity who has submitted copies of copies in their Proofs 

  of Claim which should not be admitted as evidence in their Proof of Claim. 

  19.         While it is true that on May 23, 2018, MTGLQ’s counsel, Mr. Santarelli, brought into 

  Court a fourth version of my Note, it is also true that a copy of that fourth Note was never 

  submitted into evidence in any Proof of Claim, nor in any other visible form of documented 

  evidence. 

  20.         On or about March 1, 2004, the acquisition date, as related to me by Fannie Mae, 

  the ownership of the Note and Deed of Trust were transferred from GMAC Mortgage 

  Corporation to Fannie Mae, and held through December 22, 2016, the liquidation date.    My 

  Note was serviced by Nationstar during that entire time period (see Exhibit F:    Fannie Mae 

  email). 

  21.         The Note was altered by a modification authorized by Fannie Mae in February 

  2012, rendering the original Note modified and the original terms of the Note null and void.   

  The modified terms of the Note are enforceable until 2052 and the original Note is 

  unenforceable. 

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  22.       The modified terms of my Note were based on a monthly payment of $1,004.29 at 

  an interest rate of 3.125%.    The Payment Loan History included in MTGLQ’s Proof of Claim 

  does not accurately document the modified payment structure authorized by Fannie Mae 

  through Nationstar: 

            a) The “header” page of the Payment Loan History in each of the three Proofs of 

            Claim contains the same information with the exception of the categories titled 

            “Less Funds on Hand” and “Monthly Escrow.” 

            b) The “Total monthly payment” amount taken from each header page does not 

            match the “Contractual payment amount” in column B, nor is the “Contractual 

            payment amount” consistent across all three (3) Proofs of Claim. 

            c)   The Date of Default (“Payment Loan History from First Date of Default ) in 

            column A is shown as 3/1/13 in the first Proof of Claim and in the Amended Proof of 

            Claim.    However, in the second Amended Proof of Claim and in Mr. Santarelli’s 

            7/23/18 “Response to Debtor’s Response to Order to Show Cause” the date of 

            default is shown as being 2/1/13.    However, none of these dates match the date 

            of default indicated in the letter that I received from Nationstar on May 31, 2013, 

            which indicates that the actual date of default was 4/1/2013 (see Exhibit G:   

            Nationstar 5/31/13 Letter).     

            d) The Payment Loan History taken from Nationstar’s 2/1/17 Proof of Claim in my 

            Wyoming bankruptcy indicates a credit of $7,337.33 on 7/26/17.    That credit is 

            missing on all three (3) of MTGLQ’s Payment Loan History documents.    In addition, 

            Nationstar’s Payment Loan History indicates “Forbearance” payments, adjustments 

            and suspensions, eleven (11) entries during August 2016 totaling ‐$73.81, which are 

            not indicated on any of the MTGLQ Payment Loan History documents (see Exhibit 

            H:    Nationstar WY POC). 

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              e) MTGLQ provides no explanation for suspended payments. 

  23.         Debtor believes that after three (3) attempts at providing an accurate Payment 

  Loan History, MTGLQ should be restricted from providing, yet another, “corrected” Payment 

  Loan History or Amended Proof of Claim.     

  24.         On August 9, 2018, I went to Janeway Law Firm with my Certified Forensic 

  Document Examiner, Kathy Carlson CFDE, CQDE.    While Mr. Santarelli accommodated Mrs. 

  Carlson’s requests on‐site, he adamantly denied me the opportunity to make a photocopy of 

  the Note in question, stating “you have numerous copies of this Note already.”    In addition, 

  Mr. Santarelli refused to allow Mrs. Carlson to remove the staple in the upper left hand 

  corner of the document because the Notes in the Proofs of Claim are not stapled and this 

  Note is. 

  25.           On August 15th, Mrs. Carlson sent an email to Mr. Santarelli requesting a “first 

  generation photocopy of the pages of that original document” for her final report.    Mr. 

  Santarelli emailed a redacted copy of the Note with an illegible indorsement ‐ not at all the 

  copy that she had requested.    In addition, the redacted version of the Note showed no 

  folded back pages (which would be seen if the staple was not removed) and no tri‐folds from 

  having been sent in an envelope, like the one in his office had.    We were not allowed to see 

  the envelope that the Note had been sent in for arrival to Mr. Santarelli’s office. 

  26.         On August 8th, after scheduling an appointment with Janeway Law Firm to view the 

  Note in question, scheduling Mrs. Carlson’s air travel and a pick‐up from her hotel following 

  another court case, as well as coordinating my work schedule at two (2) jobs and my 4‐hour 

  drive from Steamboat Springs, Mr. Santarelli initiated numerous road‐blocks to our pre‐set 

  appointment.    First he required both a name and CV from my Document Expert.    After that 

  documentation was provided, Mr. Santarelli was then upset that I had contacted his office to 

  advise them when we would be there ‐ instead of calling and asking their permission and 

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  what times might be available on their schedule.    As the final attempted road‐block, Mr. 

  Santarelli then stated that we would have to leave his office by 2:45pm due to an 

  appointment that he had at 3:00pm and that we would have to re‐schedule a return visit, 

  which would have required another airfare and possible hotel expenses.    When I told him 

  that his attendance was not a requirement during the viewing, he responded that his 

  attendance was a requirement because he was the “custodian” of the Note. 

  27.       Although he was not successful in stopping our review of the Note, I am now 

  requesting that this Honorable Court sanction Mr. Santarelli for attempting to impede the 

  viewing of my Note as ordered by this Court on July 26, 2018, and for not allowing a 

  photocopy of that Note to be taken on‐site or forwarded via mail to my Document Expert.   

  His actions were egregious and added tremendous stress to an already stressful situation. 

  28.       On that fourth version of my Note, a rubber‐stamped indorsement now reads: 

                Pay to the Order of 

                                                

                Without Recourse 
                GMAC Mortgage Corporation,   
                By:      D. Harkness
                        D. Harkness 
                        Limited Signing Officer 

  29.       Mrs. Carlson, my Document Expert, did confirm to me that the indorsement and 

  signature were a single rubber‐stamped indorsement.     Since there is no pen‐ink signature 

  by a human being, and no date on this indorsement, this rubber‐stamped indorsement could 

  have been made by anyone ‐ without the knowledge of D. Harkness.     

  30.       Rubber‐stamped indorsements require proof that they are not fabricated.    This 

  rubber‐stamped indorsement falls under Colorado Rules of Evidence 802, the Hearsay Rule:   

  “Hearsay is not admissible except as provided by these rules or by the civil and criminal 

  procedural rules applicable to the courts of Colorado or by any statutes of the State of 
                                                   8

   
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  Colorado.”    Hearsay evidence cannot be cross‐examined, so it can provide an unfair 

  advantage to a prosecutor in a case, while violating a Debtor’s right to confront those who 

  are providing testimony against her. 

  31.         MTGLQ was not a creditor in my Wyoming bankruptcy.    A review of the Proof of 

  Claim submitted by Nationstar in that case is warranted here as it will show that MTGLQ did 

  not receive any rights as a Creditor from Nationstar who was a Servicer and custodian of the 

  documents (see Exhibit H:    Nationstar WY POC). 

  32.         Two items are of particular interest in Nationstar’s Proof of Claim dated December 

  1, 2016: 

              a)    First of all, the copy of the alleged Note submitted by Nationstar contains a 

              similar smudge as was contained on each of MTGLQ’s Proofs of Claim submitted 

              into this Colorado case.    The smudge is not fully legible.    No copy of a legible 

              indorsement was included.    Therefore, no copy of the  搊 riginal?fourth version 

              of the Note was a part of Nationstar’s Proof of Claim either. 


              b)    Second, on page four (4) is the Notice by Nationstar stating: 
               
                   揘 ationstar Mortgage services the loan on the property reference in this Proof 
                   of Claim. ..Noteholder, directly, or through an agent has possession of the 
                   promissory note.    The promissory note is either made payable to Noteholder, 
                   or has been duly endorsed.    Noteholder is the original mortgagee or 
                   beneficiary or the assignee of the security instrument for the referenced loan.” 
                    
  33.         This Proof of Claim was filed just 21 days prior to the date that MTGLQ claims, “the 

  ownership of the Note was transferred from Nationstar to MTGLQ Investors, LP.” 

  34.         If the ownership had actually transferred from Nationstar to MTGLQ on December 

  22, 2016, then MTGLQ’s Proof of Claim of ownership should have been submitted as a 

  substitute for Nationstar’s Proof of Claim to the Wyoming bankruptcy.    No Proof of Claim 

  was ever submitted by MTGLQ into my Wyoming bankruptcy case. 



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   35.       On July 2, 2018, Mr. Santarelli recognized the fact that the Debtor did not have an 

   attorney of record and sent me an email with an attached document entitled “Joint 

   Statement of Stipulated Facts.” (See Exhibit I).    That document is an admission that they 

   have no idea where the Note came from and are unable to provide this Court with evidence 

   that they are a Creditor. 

   36.       Mr. Santarelli’s “Stipulation” was never submitted to this Court, but makes 

   significant statements that warrant review.    In paragraph 3, Mr. Santarelli states, “On or 

   about December 22, 2016, the ownership of the Note was transferred from Federal National 

   Mortgage Association to MTGLQ Investors, L.P. (“Creditor”).    At the time of the transfer of 

   ownership of the Note, Debtor’s loan was serviced by Nationstar Mortgage, LLC.” 

   37.       That disclosure, unsolicited by me, is in direct conflict with the original Proof of 

   Claim filed by MTGLQ on August 21, 2017, (see Exhibit A), the first Amended Proof of Claim 

   filed on December 1, 2017, (see Exhibit B) and the second Amended Proof of Claim filed on 

   March 6, 2018 (see Exhibit C).    It does, however, re‐affirm the evidence that I have 

   previously submitted to the Court of Fannie Mae’s ownership of my Note from March 1, 

   2004, to December 22, 2016, and Nationstar’s email and letters stating that they “serviced” 

   the debt, but did not own my Note (see Exhibit E).   

   38.       The “Joint Statement of Stipulated Facts” document although never submitted to 

   this Court, holds significant influence over this case in that Ms. Leslie Leanhart of Selene 

   Finance, L.P. filed the original Proof of Claim, Mr. Philip Stuart Traynor filed the first 

   Amended Proof of Claim and Mr. Nicholas Santarelli filed the second Amended Proof of 

   Claim under “penalty of perjury that the foregoing is true and correct.”    To suddenly claim 

   that the Note was “transferred” from Fannie Mae to MTGQ, and not from Nationstar is 

   evidence of perjury and shows that all three Proofs of Claim are perjured and the 

   Assignments in those Proofs of Claim and on county records are suspect. 

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   39.       The filing of a false Proof of Claim in a bankruptcy case is a crime under 18 U.S.C. 

   §§152, 157, 3571. 

   40.     On the first page of the Proof of Claim form (Official Form 410) paragraph 3 of the 

   initial text and on page three, just to the left of the statement, “I declare under penalty of 

   perjury that the foregoing is true and correct” it clearly states in bold print, “A person who 

   files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or 

   both.    U.S.C. 18 §§152, 157, 3571.” 

   41.         Although the federal criminal statute prohibiting the falsifying of a proof of claim 

   does not provide a party with a civil right of action, a bankruptcy court is empowered by 11 

   U.S.C. § 105(a) to “issue any order, process, or judgment that is necessary or appropriate to 

   carryout the provisions of this title.”    The statute specifically allows a bankruptcy court to 

   take “any action . . . necessary or appropriate . ..to prevent an abuse of process.” 

    

             THEREFORE, I reiterate here why Proof of Claim #6, submitted in this case by 

   MTGLQ, is not a valid Proof of Claim and MTGLQ should be rejected as a Creditor for the 

   following reasons: 

             a)     MTGLQ has never made the claim that they have purchased my debt, nor have 

             they provided evidence of that purchase in the form of a receipt, wire transfer or 

             other form of receipt for payment, so there is no evidence that the Note “was 

             taken for value.” 

             b)   MTGLQ was fully aware that the “instrument was overdue.”   

             c)    Based on paragraph a and b above, MTGLQ is not a HIDC.    Thus, they are 

             responsible for outlining the entire chain of indorsements for my Promissory Note 

             and chain of title for my Deed of Trust prior to determination of their rights 

             regarding each instrument.   

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             d)   MTGLQ has never submitted the alleged “original” Note in any Proof of Claim; 

             e)   The current indorsement on the fourth version of the Note is not admissible in 

             this Court due to the Hearsay Rule; 

             f)     MTGLQ’s Proof of Claim fails to provide any evidence regarding the “fact of 

             delivery” and the “purpose of the delivery” to qualify as “person entitled to 

             enforce.” 

             g)   MTGLQ has provided incorrect Payment Loan History and has provided two (2) 

             incorrect dates of default; 

             h)   MTGLQ has now provided not only conflicting, but perjured documentation 

             into this Court by submitting two (2) very distinct claims regarding how they 

             obtained the Note and Deed of Trust; 

            WHEREFORE, I, Jill Clow, request that this Honorable Court take necessary and 

   appropriate action to prevent an abuse of process with this faulty Proof of Claim and refer 

   this perjurous activity to the U.S. Attorney for further prosecution.   

    

   Date:    August 24, 2018                          Respectfully Submitted, 
                                                 
                                                     /s/ Jill Clow
                                                    ______________________________ 
                                                     Jill Clow, Debtor 
                                                     P.O. Box 880453 
                                                     Steamboat Springs, CO      80488      
                                                     970‐846‐0253        
    
    
                                 




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                                        CERTIFICATE OF SERVICE 


       I HEREBY CERTIFY that a true and correct copy of the foregoing Debtor’s Objection to 
   MTGLQ’s Proof of Claim was I‐filed to Judge Romero at www.cob.uscourts.gov and sent via 
   email or via U.S. Mail to all persons shown on the following service list on this 24th day of 
   August, 2018.             
                                                   /s/ Jill Clow
                                                    __________________________ 
                                                
                                                    Jill Clow, Debtor 
                                                    P.O. Box 880453 
                                                    Steamboat Springs, CO      80488 
                                                    970‐846‐0253  

    

   Service List: 

   Nicholas H. Santarelli, Esq. 
   JANEWAY LAW FIRM, P.C. 
   9800 s. Meridian Blvd., Suite 400 
   Englewood, CO      80112 
    
   Adam Goodman 
   Standing Chapter 13 Trustee 
   P. O. Box 1169 
   Denver, CO      80201 
    
   US TRUSTEE 
   Byron G. Rogers Federal Building 
   1961 Stout St., Suite 12‐200 
   Denver, CO      80294 




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                             EXHIBIT


                                    A
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   Debtor 2
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 Official Form 410
 Proof of Claim                                                                                                                                                                             04/16

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                Identify the Claim

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  Official FOfm 410                                                                         Proof o( Cl:, i, ,:                                                                   page 1
   Case:17-13167-MER Doc#:146 Filed:08/24/18 Entered:08/27/18 14:35:03 Page16 of 48
     Cc1se 17-13167-MER Cla11n 6 Filed 0o/21117 De~c Main Doc1;menl  Page 2 01 53




              Give Information Abo ut the> Clalm as of the Dato tha Case Was Flied

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 Official Form A10                                                     Proof o f Claim                                                                        page 2
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  03/lll/13                                          $9.15 PROPUTV INSP£CTICN                            ·5Ul6                                                            S9 IS           S271.1SO,ll                      Sl, nt.16                  S91S               $0.00
  0 4/0UU          S1,158.92                               PAVME.NT DU(                                SUJ.S.16                                                                           $271.lSCUI                       S3,77U6                    59 IS              $0,00   0
  05/01/U          Sl.258.92                               PAYlllENT OU!                               $1-.68                                                                             $271,150.11                      S3,mM                      $9.IS              $0.00
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  07/05/U                         $1,25&.92                 l'AVMtlf"' fl£C£1\1t       6/l/20U         $2..,. 6&     52911 9$              $705.~         S>54.63                         Sl70.SS3.0!I                                               518.30
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  10/01/1!         $1,2.511.92                              PAl'MlllT OU£                              S6.1714'                                                                           S270.SS3.0S                      $3>71!.34                 SJJLM               S0,00
  10/09/13                                         S9t&.7S rc,w                                        $6.271.AI.                                                       $918.,S           $270,SSl.09                      Sl.470.34                $937.0S              50.00
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  U/25/13                                           515.00 Pll()P(lflV 1.sKCTI0.'1                     S7.530.3'                                                         $15.0l)          $270.553.09                      53;470.34             $1,492.0$
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  11/D/13                                            $9.WfCC()SQ                                       S7.530.K                                                           S9.20           S270.S53.09                      S3,4'70,3'1           Sl,501 .25              S0.00    t,,.
  tt/U/U                                           SUIUlO ft C,0$1'S                                   $7.SlO.lG                                                        $120.00           $270.SSl.09                      $3.-,170.3-'I         SUll.25                 sooo
  11/27/13                                         $4IOO.a> 1C COSTS                                   57.S30 3'                                                        S400.00           S270,553.Jl9                     $3, 470.34            $2,021.b                50.00   9,
  U/0l/13          $1,251.92                                PA~MEIIT OUE                               SS.78911
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                                Case:17-13167-MER Doc#:146 Filed:08/24/18                                                         Entered:08/27/18 14:35:03 Page19 of 48


U/2•/l)                                    SU.00 Pl\Ol>flt'JY INSPfC170/-.!             SS,,769.28                                          $U.OO              S270.SS3.09       S..l,4}0.3'l   $2.o:ll.l.S      $0.00
l'l/27/U
01/01./U     s:usa.,2
                              S,2lA9             PAATIM PAYM(NT
                                                 P,._VMENTOUE
                                                                                        P,81>S.79                                                      $923.49 S270,S!J.09       S3,•70.34      $2,033.25      ~923-'ll      n
                                                                                        S9,J.lUl                                                                                                ~on..25
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                                                                                                                                                               S270,SS3.09       S3A70.l4                      $923..49
OV22/I'                      5,33S.43            P4YMEH1'1lEtEJ\'(          7/1/l!>U    S8.l'l9.U      $299.72    $704.57      S254.63                 •S9:t3..19 $V0,2SU7       $.3.Jl...97    Sl,OH.25          so.oo
01/lb/1•
02/01/1.A    Sl,2.S8.,z
                            susa.92              MVMENT RECEIVE
                                                 P4Vl,m~T'OU£
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0)./13/14                               S1,174.i7 H"-ZAAI> INS l>ISII                   $8,78'-28                            ·Sl,27•.n                         S269.9S2.16         $4(,6.4)                                  I->
                                                                                                                                                                                                S2.D.33.25        S0.00
03/01/IA     Sl,258.92                             PAYMENTOUE                          St0,048.lO                                                              5769.95>.8&         $46SA3       52.033.25         S0.00      v>
04/01/14     Sl,2S8.51                             ,,._YMfNTl>VE                       $l l..)07.l2                                                                                                                          -.J
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                                                                                                                                                                                                $2.033.?5         S0.-00
00/23/IA                                  •SU.I'S KF«S                                 Sll,307 12                                           ·$1.S.7S           SWJ.952.116         $4~.H        Sl ,011.SO        S0.00
OS/01/14     Sll.50.(.4                           PAYMEN'T DUf                         Sl2,55156                                                               Sl69,9S2.8'         SA6S.~)      $2,017 .Sil       S0.00      IT1
OS/16/14                                 $7J.4.40 COVNl'V lAl( 01S8                    $U.SS7.56                              ·S714.40                         S169,9SU6          ·S24&97       S2,017.SO         SO.OD      :u
OS/lG/14                                 S714.IIO rou NTV l'AX 0JS8                    SU.$$7.$6                              ·Sll•.<O                         S-269,9S.2.$&      ·S'63 3?      S2.0l7.SO         S0.00
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06/16/14
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06/2S/l4                                Sl,OU.13 l'C COS'TS                            SlUOILCO                                           Sl,012.13            ~S9,,S2.16         -S"3 37       Sl.)lS.63         SO.OD      3
07/01/1'     S l,l.SO."4                         J>AYMENl DUE                          SIS,053.44                                                              S26US2.86           -$9'1. 17    $.3,;lS.fiJ       SO.DO      Oi
07/14/14                                 $300.00 SK ~lES                               HS,OSi.44                                           $300.00             Sl6US2.86           ~&3.)7       S).GJS.63         S0.00
U7(2A/14                                  SJS 00 PRO PUN tNSPECnON                     sl.S,DS&.iW>                                         SIS.00             S26',9S2.86         ·S.9Rl 7     $3,650.6)         SO.Oil
08/Ql/Jo     Sl..2S0.~                            PAVM&lT~                             Sl6,.308.88                                                             S269,95l..116       ..S963.) 1   Sl,650.6l         S0.00
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08/19/U                                  Sl S0.00 DK F£ES                              Sl6,l08.UI                                                                                                                            tt,
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                                                  PAYMl!N't OU£                        $17,SSS.l.2                                                             S269,!,SU~          ·s,63


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IO/Dl/14     Sl.lS0.44                            PAYMUl'T OVE
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                                                                                       SU..8011.76                                                             S269.'6U6           •$963.)7     S,4,000.6J        $0. 00     OJ
ID/1'/I<                    S6.0V.?6              P.U'TlAL PAYMENl'                    Sl2,782..00                                                  56.017.16 S269,9SU6            -S~37        $<4,000.63    SG.027. 76     1--.J
lD/3')/14                                         ~EV£RSALPAYMftl/T                    $l2,7a2.00                                                  .Sfi.027.76 S269.9SU6
11/01/1•     $1,250.44                            PAYMW'rovt                               •
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ll/05/14                                 S500.00 l iC FEES                             Su.on «                                             S500.00             S269,952.16         ·S'63.37     $4,500.63         S0.00      -.J
ll/lS/U                                   SI S.00 PllOPfJl'TY INSl'EC'TlOl'I           $1&,032.44                                           sis.oo             S2'9.9Sl..86        ,S96U7       $-4,51S.63        SO.DO
l~lll'       Sl.2S0,4'1                           PA'fMEN'fOUE                         SlS.182.88                                                              S"9.9S2 .at         ·S963 37     S4,S15.'3         $000
OJ/01/15     Sl.25044                            P4YM(NTDUe                            $16,5.33-32
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OJJn/1S                                  S318.7S l'CFEES                               $16.sl3.l2                                          S3l8.7S             Sl6'.9Sl.86         ·S963 37     $4,134.38         sooo       Cf'
                                                                                                                                                                                                                             r,
~/01/~       s1.m+a                               PAYMOOOUE                            Sl1,7U.76                                                               $269.952..86        -5963.37     $4,134.38         50.00
~1/lS                                   $1,667.00 ~ INS OIS1l                          Sn,713.7'                             ·Sl~.G:>                          Sl69.95l.86       ·51.630.37     54,,834.321       S0.00      ~
lll/b.1/lS                                 SlS.00 ~Ol'ERTV INSH:CTll>l'I               S17,71l.76                                           Sl.S.O~            SJ69 .9iS l.116   ·Sl.631).37    $4,8.119.38       S0.00      2::
02/04/U                                  $7.26.UI COUr,ITVlAXOIS8                      $17.7U.76                              ·5726 18                         Slf;9 ,9.SU5      ·SJ,156..55    S4.&A9.)8         S0.00     ::;
r12/U/IS                                 SlS0.00 9lt FEES                              S17.783.7'8                                         $2SOJ>O             5169,!151.85      ·$3,356.SS     $S.D9!J.)8        so.co      0
112/2&/lS                                S300.00 IIC Ftts                              $17,783.76                                          $300.00             S26!>.9S.U 6      · SUS6.SS      S.S,3'9.!I        $0.00      0
03/i)l/15    Sl.150.4<1                                                                                                                                                                                                      (")
                                                 PAYME>l'TOU£                          $19.Ql4.1.0                                                             Sl6,,9SU6         · $J.J56.SS    S:S.3t9.38        S0.00      C:
o3mfJ5                                    ·569.00 PROPfRlY ISSKcnON                    $19,034.2.0                                          ·569 .00           sn.,.,s2.i;6                     ss.no..u          so.oo
04,1))/15    Sl,.lSO,Q.11                         PAVMEHTPUE                           S20,244.£4
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                                                                                                                                                               SUUS2.86          · $),JS6.SS    $5,330.33         ~-00       ro
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a.m/15
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OS/01/1S     SU.SO.C4                             PAYMENlOUE                        SW..276.16                                                                 S269.9SU6         •$3,3$6.55     SS,3~0.38         S0.00
OS/13/15                                 S7 26. \.a COO lllY TAle OIS8              Sl'0.)761&                                -5726.18                         5268.952.86       ·S4,082.7J     SS.J,0.38         $0.00      1)
OS/16/lS                    Sl.l~-9l              P4VM£Nl RfOJ\'?          9/1/lOU Sl9,0".J~-t S.lOl.29           S70l.OO      SlS4.£3                         ~ . 651.57                                         so.oo
                                                                                                                                                                                 ·S3.s:i8.IO    S5..3Jo.J8                   PJ
OS/l9/~                     SI l•l-0&             PAYMENT fl!<f:tVf       10/1/?013 $ 17,776.1$  S~DI             S702.22      S.236.r9                        n6,,l 49.SO       ·S3..591.ll                                0
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06/01/IS     Sl,250.u                            P"YMENT OU£                        Sl9,026.60                                                                 S2&).Hg 50        -Sl.591 .n     S5~!0.38          SO.DO
06/01/lS                                 Sl00.00 I« FfES                               S\9.026.60                                          S:20000             si,!l.~9.SO       ·Sl,591..H     SS,530.38         50.00
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OS/Ol/15
06/1&/lS
                                          SLS.00 NIOfERlV INSPECTION                   S l 9.026,6{]                                        $l5 00             $l£<;>,}49,so     ·Sl.591.H      SS,$4.5.38        so.oo     0
                                         S4 l 2.SO FC ~£ES                             519,026.60                                          S•U.SO              $26~.14,.SO       ,$3.S'll 31    SS,957 88         50.00     U1
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                              Case:17-13167-MER Doc#:146 Filed:08/24/18                                                                 Entered:08/27/18 14:35:03 Page20 of 48


06/lb/lS                                    SD OOFCCOSIS                                    $~,Ql6.60                                              SU .00    $169,.)49.SO     ·S3,S9l.~l        ~S..9S9.88     so.oo
06lrl/1S
05/2l/lS
                                                 P.AYt.11(1\ll R£\/EkSi
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                                                                                                                                                                                                                         fl)
ct,/2,(IS                 Sl.lSS.91              P-'IYMfllll RECflVC          9 /1/2011     $11,761.68      $)0129     S,03.00        $)S4.&)                                                                            U')
                                                                                                                                                             S269,6Sl.S7      •Sl.828.J O       $S,9&9 88      S0.00
06/'l.4/IS
Of,/24/lS
                          SUS8.92                PAYMENf
                                                 PAYMENT AM~
                                                                             10/ 1/lOB
                                                                             10/ l /lOll
                                                                                            Sl5,50l.76
                                                                                            $l6,50i 76
                                                                                                            $30707
                                                                                                           •$302.07
                                                                                                                        S70Ul
                                                                                                                       ·S70U?
                                                                                                                                      $236.79
                                                                                                                                     ,$?36,79
                                                                                                                                                             S-269,349.SO
                                                                                                                                                             $269,651.57
                                                                                                                                                                              •Sl,s<n ,31       SS,969.U       so.co     ,~
                                                                                                                                                                                                                         10


                                                                                                                                                                                                                         ,....
                                                                                                                                                                              <Sl,8~. 10        ~5,966 BS      S0.00     -.....J
06124./IS                                        PAYMENl 11.£\IERS,           9 /1/2013     $16.508'76     -$.30l.29   ·$703.00      ·$254 63                S269.9SH6        ·S•l,082,73       SS.~9.88       S0.00
07/0VlS      St.2S0.4'                           PAYMHIT OUf                                S1',7S9.l0                                                       S,2&9,9SU6       ·S-t,lllf2.73     SS,969. 88     So.oo     l,\)
07/07/lS                  ~1,lS&.92              PAYMENI REC~t\/E             9/J/lOH       $16,SOO.U       $JOL29     S703.00        $2S.:.63               SlGUSJ.S?        •SUlS.lO                                   I--
                                                                                                                                                                                                SS,9&9.89      $0.00
07/07/15                  Sl,lS8 9l              PAYMENT llECflV[            l0/l/2013      S1$).4136       S3Ql.07    $'102.ll       S'US.79                Su:9, 149..>0    ·S}.59L,1         SS,969..118    so.oo     er,
07/07/l S                 SU.Sl.U                PAYMEt,i ~ECEIVE                                           $302.SG
                                                                                                                                                                                                                         --. l
                                                                             11 /1/lOH      SU ,SW.24                  S'/OL.A3       $?47.SJ                S?69.114&.64     •$)..).;3.lla     SS.~9 .8&      $0.00
'17/J4/~                                         Rfll(ASAl YAYMD             ll/1/lOll      Sl3,9SU•       ·$302.8~    .$'701.43     ·$2117 83               $169,.349.SO     ·SU9Ul            $5,969.88      $0.00
                                                                                                                                                                                                                          '
                                                                                                                                                                                                                         :!
07/H/IS                                          REVEASAl.l'AYM0             I01,non sn,ss9.2,             ·Sl0l.o7    -$702.22      ·$236.79                S1'9,6SLS7       -$3.$18.lD        SS,969.88      S0.00     m
00/14/IS                                         Al;VtRSi\L l'AVMl:t          'J/1/?0U      ~13,989.2..t   -$301.29    -$?tl3..DO    ·$l54.63                $269,95-2.86     -s.,on.n          SS..9&9.ea     $0.00     ;o
07/?0/lS                  SJ.n&9l                MVMWT' RECEIVE               9/l/2013      $12,730.32      S30L29     $703.00        $2S4.63                $269,.'Sl.S?     ,$ 3,.8la. l0     SS,1169.U      S0.00
01/21)/15
07/UJ/I.S
                          Sl.2S8.92
                          SUSU2
                                                 PAVM£N? I\Ea'IYE
                                                 PI-YM£NT RECEIVE
                                                                             10/l/ZOU
                                                                             11/ 1/20.U
                                                                                            Sll.471.AO
                                                                                            Sl0,2l2.48
                                                                                                            S302..07
                                                                                                            ~02.8&
                                                                                                                       $702.22
                                                                                                                       $701.43
                                                                                                                                      $236.?9
                                                                                                                                      $2A7.83
                                                                                                                                                             S269,.3'~.SO
                                                                                                                                                             $269,1146.6'1
                                                                                                                                                                              -S3,S91.ll
                                                                                                                                                                              ·S3.343.48
                                                                                                                                                                                                SS,%9.88
                                                                                                                                                                                                $5,969.88
                                                                                                                                                                                                               $0.00
                                                                                                                                                                                                               S0.00
                                                                                                                                                                                                                         n
                                                                                                                                                                                                                         ti)
07,n/lS                                    S53&30 l'CCO$T'S                                 SlQ,2.!,l.43                                           s~uo      S.16'.,°'6.64    -$3,343.48        S6.S06.18      S0.00
0$/01/lS     $1,250.44                              PAVMENlOUE                              $11.,4£2.92                                                      $269,-C4&64      •$3.)43.48        S&.S06 .18     SD.DO     3
08/11/lS                                            llCVEJt$A.l PAYMEt       U/l/?013       SU..<Q.92      -$302.86    -$701.43      •S247,83                SJ.69,349.50     ·$3,S,l.ll        $6,506.18      S0.00     r1,
08/ 11/l S                                          AEVERSAI.PAYM8           10/ 112013     Sll,46U2 ·$!02.07          •S702-l2      -~.'19                  S26<J,6S LS7     ·SUll.10          $6,$06.18      $!).00
0&/17/]5
08/17/ IS                 $1,258.92
                                                    RfVERSAl PAYMf.~
                                                    l'AY'i',lci>l'i RECENE
                                                                              'J/1/2013
                                                                              9/)./'l!JU
                                                                                            SU,462..92 ·S30U9
                                                                                            S!0.204.0I> S.Y.>U9
                                                                                                                       •57()3.00
                                                                                                                       $7()3.IX>
                                                                                                                                     -$2.54.6-3
                                                                                                                                      Sl54.63
                                                                                                                                                             $26',9SU6
                                                                                                                                                             SU!l,65157
                                                                                                                                                                              ·$4,082.73
                                                                                                                                                                              -$3..82.11•.J.o
                                                                                                                                                                                                S6,.S06-l.ll
                                                                                                                                                                                                $6.,sof..li
                                                                                                                                                                                                               S0.00
                                                                                                                                                                                                               $0.()')
                                                                                                                                                                                                                         :r.1
08/17/lS                  $l..ZS8.92                PAYMEN1 RCCtlV'E         10/1/2013       $4.!)4S,08    S)02.01     sro2..n        $236.79                S~69,349.SO      ·S3.$t..31        $6.$06. 18     S0.00
                                                                                                                                                                                                                         ifi
0./17/lS
                                                                                                                                                                                                                         C.
                          SJ .1S8.9i                PAYMfNT!lfCOVf           U/l/2013        $7,686. 16  SJOl.U        $701 .41       $247.83                S?&ll.1)46.6-1   ·SS,343.48        $6,506.18      $0.00
08/17/1S                                            Rf\lE'RSJ\l PAY"1E~      U/1/2013                                                                                                                                    Cl

                                                                                                                                                                                                                         ,t,)·-...
                                                                                             S? ,686.16 -Sl02.8'       -S70l.43      -5241.a,                $269,349,50      -$ 3,$91.31       $6$06.18       S0.00     00
08/17/1.S                 susui                     PAVMiNT Rl:(£JVE         1 l/1/1t113     $6,427.U 5302.86           S70L43        $241,83                S269,04U4        ..$3,343,48'      S-G.506-U      S0.00


                                                                                                                                                                                                                          ....-,
08/1.11/15                                          REVERSAL l'AYMEt         111l/2DB        $6,427.2' -$302.86        ·$101.'3      ·S247..e.3              $269,.3&9.SD     -$3,591.31        $6506..18      $000
08/)8./1.S                                          RE\IERS-'ILPAYME.l'      10/1/2013       S6,4i7.24 •$301.07        •S702.22      ·$2.36.79               $1&9,6SLP        ·S3,,4la.to       $6,506. 18     sooo      I--'
08/18/lS                                            ~ERSAI. PAYMf.r           9/1/2013       $6,427.24 •SlOl.29        ,$703.00      -$254.63                Sl69,9Sl.«.      -$4.()82.71       S6,S06.18      so.oo
08/lB/15                  Sl, IS&.92                l'A'l'M£N1' 11ECEM        M./'2013       S!.,168.32 $30L29          $703.00       $254.&3                s,.r.us1s1       -S3~UO            S6.S06.18      so.oo
08/18/1.S                 $1,1~ 2                   PAYMENT' ft£CUI/E        IO/l/2013       $ 3,909,4() $302.07        $10.UI        $ 236.79               $269..349-.SO    -$.3.591.31       $4$06.18       $0.00
0a/ 1$/J.S                Sl , 2 ~                  PAYM£NT kECBVE           ll / l /2013    Sl6S0.411     Sl02.86     S70L43         $l.47.83               $2$,046.'4
                                                                                                                                                                                                                         0
                                                                                                                                                                              -SS,9,U.43        ~      -l.8    $0.00     IL)
QCJ/fn./lS                Sl.lSS.92                 PAVME"T llEC£IIIE        U/1/1013        Sl,391.56     S303.6S     S700M          $254.tl                $259,742.99      ·S3,oa&SS         $fl,50e.1S     $0.00     (JI
09/01/1$     Sl.250,4'                              PA•,, ~tNl'OUE                           Sl.6'l,.OO                                                                                                                  C,
                                                                                                                                                             $268,74 2.99     -S3.088..8S       $6,506.18      $000
00/1.4/lS                                  --S.U.00 fC FEES                                  $2.6'2.00                                             -SlE.00   $.268.7.\2$      -$3,038.85        $6,478. 1$     so.oo     ~
10/01/lS     Sl,2SOM                                PAVM,Nl 01,)f                            S3.891M                                                         S168.7Jl2.99     -S3,o88.8S        SG.478.18      $0.00     ~
lO!llJJ.S                 S,U.S2.92                 Po\YM(Nt R.EaM            l/l/2010       Sl,6l3.S2     $30Q.41     $699.iS        S2.S4.63               $168,0l.SS       ·SU-54.22         $6,47!.!8      $0.00     ::i
ll/01/lS     Sl ,2S0.4t                             PA.YM£Nl OUE                             S3,88J.9f:                                                      $268,43&.SS      ·Sl,.834.U        $6,478 .lJI    SCI.DO    0
11/03/15                  $.l ,.258.9l              PAYMENT RECEIVf           2{l/2<114      $2,625.04     SJOS.U      Sl'i99.06      Sl54.5l                S268.llU2        -$l,S~.s9         $6,47$.le      $().00    0
lJ/Dl/15
U/30/15,
             Sl.250.44
                          SUS&n
                                                    PAYMENTOt.JE
                                                    PAYMENl RfCf!Vf           3./l.n.01l.
                                                                                             $3,875,q
                                                                                             $2,61£.56     S,306..03   $t;gU6         $754.63
                                                                                                                                                             Sl68,ll3.32
                                                                                                                                                             Sl67,827.29
                                                                                                                                                                              ·Sl.S79.SS
                                                                                                                                                                              ·$U24.96
                                                                                                                                                                                                $6,478.19
                                                                                                                                                                                                S6.478.J8
                                                                                                                                                                                                               S0.00
                                                                                                                                                                                                               $0.00
                                                                                                                                                                                                                         "
                                                                                                                                                                                                                         C:
                                                                                                                                                                                                                         ~
Ot/01/16     Sl,250.44                                                                       S),867.00
                                                    PAYMfNTOUE                                                                                               $267 .827.29     · Sl.3:U.96       $6,478.li      $(1.00    m
                                                    PAYMENl oue
O'l/01/16
02/0'l/16
             Sl,250,44
                                         $1,669.00 KAZARO INSOISS
                                                                                             SS,U7A4
                                                                                             SS,117.o.<t                            -$1,6§9.00
                                                                                                                                                             $167,.827.29
                                                                                                                                                             $267,!27..Z,
                                                                                                                                                                              -Q.32'.96
                                                                                                                                                                              -53,.ll!!!.96
                                                                                                                                                                                                $6,478.JB
                                                                                                                                                                                                $6,478.18
                                                                                                                                                                                                               so.oo
                                                                                                                                                                                                               $C.OO
                                                                                                                                                                                                                         ....
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02/O~/lf>                                 $728.06 COUNTY T..XOISS                            $5,117.44                               ·S'726.06               $261,811.29      -$4,720.02        S6,478.l !     S1>.oo
Gl/26/16                  Sl,.258.92                P-'IYMOIT RECal/f         4/1/2014       S3,8Sa.>2     $306.8,2    $697.47        $2~63                  $267,Slf).47
03/0l/16     SUSCl.4<                               ,AVMEl',ll'OUE                           SS,lOa.96
                                                                                                                                                                              -54,465.:19       $6,478..18     $0.00     7_:r
                                                                                                                                                             S267,.S20A7      · $4,46~.39       SS-4:-aJ.B     $0.00     fll
04/01/16                  SUS&.91                   PAYM£1'/T RU:ENE          S/1/20:4       SUIS0.04      $)07.62     $696.61        $254..63               $2'7.lU.SS       -$4.U0.76         $6,478...lB    S0.00     (0
OC/Ol/lS                  SUS0.44                   rAVMENT lltC..;;vl:       6/1/2014       Sl.599..60    S30U2       S69S..8J       S.21.6.1.S             Sl66.50U.3       -S),9&4.61        SG,t.78.18               tlJ
                                                                                                                                                                                                               $0.00
04/0l/16     Sl,ll0.44                              PAYMtNlOV£                               $3,SSO.O.                                                       $266~43          ·$3,964.61        $6A78..18      S0.00
                                                                                                                                                                                                                         i.r,
04/>.s/~                  S1,2SOA4                  PAYMENT RECEM:            7/l/Wl.4       Sl.ID.60                                                                                                          sc.oo
04/15/16                  s~.44                     M'l'M£t,ll' R£C£1\1E      8/l/?Dl&       Sl,3-'9. 16
                                                                                                           Sl09.73
                                                                                                           SllO.Ol
                                                                                                                       $&9S/J6        SZ4'-15                S26S~S.20        ·S3,7llA6         S6,478..l8               2.
                                                                                                                       S~ .26         S2'6. l S              s1u,2as.1>       •S3,4n.31         s,,,479..U     S()(X)
                                                                                                                                                                                                                         (.JI
                                                                                                                                                                                                                         w
                               Case:17-13167-MER Doc#:146 Filed:08/24/18                                                           Entered:08/27/18 14:35:03 Page21 of 48


OS/Ol/l6     S1,2S0.44                           PAVM(Nl' OUE                          si,599.ro                                                            $l66,lSS,11      ,S3,4n.3t       S6,47U8        so.oo
Of./10/l&                                ~ -00 Ill FEES                                s.i:.s~.w                                           StS0.00          $l66.28S, l 7    ,$3,471.31      $7,32.11 18    so.oo         ()
Oi/]3/16                                 S'TU.06 COVNT't TAX OISl:I                    S.2,.S'J'l.60                           -Sl16.0G                     S266.2&.l7       ·$4.19837       S7,HL18        $0.00          Cl
<;X;/11/l6                 S!,1$0.44              PAYMfr-lT Ree.IV£      9/1/ 2014     Sl.349 16       $)1 0,8,q   $6S3.4S      S~6,IS                      Sl65,')703       -s3,s2-22                                    {.')
                                                                                                                                                                                             $7,318.18      S0.00
D'/OVI&      Sl.2 S0.44                           l>AYi.,ENT l>VE                      SU!$60                                                                                .s:us1.22                                    (~
                                                                                                                                                            Sli>S,974 ..33                   S?~U.UI        so.oo         .....
07/01/16
re/01/16
r,s/ot/16
             Sl,lS0.44
             Sl,lS0.44
                           $1,.!5C.44
                                                  PAY'MtNTOOf
                                                  PA\'MEN1 OVE
                                                  PAYMENT ~((£11/t       10/1/2014
                                                                                       S3,&SO.O<
                                                                                       S.S.100.68
                                                                                       H,.8S().04      $311.6$     S&U.64       S14&.l5
                                                                                                                                                            S26S,974 H
                                                                                                                                                            $26SJ)74,33
                                                                                                                                                            S2GS.66U8
                                                                                                                                                                             ·S"3.9S:t.22
                                                                                                                                                                             .S3,!IS2.ll
                                                                                                                                                                                             S7..32U8
                                                                                                                                                                                             ~7.318.18
                                                                                                                                                                                                            SO.Oil
                                                                                                                                                                                                            S0.00
                                                                                                                                                                                                            so.co
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                                                                                                                                                                                                                          -..J
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®/OV!S       Sl,264 ol8                           PAVMEt-lTOOf
                                                                                                                                                                             ·S.l.706.07     S7,nt.l i
                                                                                                                                                                                                                          w
                                                                                       SS,U4 ,4.2                                                           Sl6S.662.68      ·S3,706.07      s1,:ns.111     so.oo         J---
~ / 26/16                                5,947.79 FCCOSTS                              S~.l l,o,4l                                         $942.79          S26S,66>,68      ·$3,70 6.07     $8,271),97     $0.0')        en
10/01/16     S 1,26-4.38                          PAYMMOUE                             SG,378JIO                                                                                                                          -.J
                                                                                                                                                            S26S,66l.68      ,$3,706.07      S-8,..V0,97    $0.00          I
10/11/16                                          RMllS"-L ~AYMet        )0/ l/2014    S6,37UO    -$3ll.6S         ·S&9l.6Q    •S24~1S                       $2GS,97~33      ·S3..9S2.22     $8,210.97                    ?
                                                                                                                                                                                                            S0.00         ..:,.
W/11/16                    $1250.U                PA'BIIENT RECEIVE      10/1/l0 H     SS.ll.83' $.3U.6S           $'9l.&O      $24£.lS                      st6S,662.68     ·SJ.706.07      $3,X,0,.9 7    so.oo         rn
11/01/16     S l,26<1.38                          PAYMMOUE                             So.392.74                                                             S265.662.68     ·Sl.7~.o?       SS.270.97      $0.00         ;o
lUOl/1&      Sl,26'1.38                          PA,'ME~T llVE                         S7,£57.l2                                                             Sl.6$,U,.68     -$.3,7()6.07    ss,i,031       $0.00
12/19/16                                 SSS0.00 8IC H ES                              S7,i>S7.ll                                          S&S0.00           S26S,66Ufl      -Sl,706.07      SS.,20.91      S0.00
01/01/17     Sl,l&o.38                           PAYMENTOUE                            SS.9?1.SO                                                                             ,S3, 706.07
                                                                                                                                                                                                                          0
                                                                                                                                                             $26$,661.68                     sa,920.,,      so.oo
01/ll/17                                s1µs.oo \iAZAROINS Oi58                        $3.921.SO                              •Sl,64S.OO                     S26S,66l.6~     ,$S,3St.07      S8.9J0.97      $0.00      ~
(1JJOl/l.7   Sl.l64.3l                          PAVM£ITT DUE                          SIO,l&S-.88                                                                                                                      :::,
                                                                                                                                                                                                                       _,
                                                                                                                                                             Sl6S.662.68     -SS.3$1.07      SS,.92A).97    S0.00
02/~IJ                                   $ 7 ~ C.OUH'IYT~ 01$6                        SID,lbS.88                               •S7<0.92                      $765,662 68     ·S6,C&l.99'     $9,920~7       SO.OD         (11
O'Z/U/11                                         P.<.RTl/\l PA.'t'MENT                SI0,19&.88                                                     $4S.-t5 S26S,'61.68     ·S6,0Sl.!l9     $8,920.97     S•~.•s
113/0V17     Sl,264.3!                           PAYMENT OUE                          Sll.4SO.l6                                                             $26S,66UB       ·S6.09l.!I')    SB,9.037      $45.'5
o,:./OJ/17   s~.Js                               PA\Vl.lENT Ol!E                      Sll.71~.64                                                            S265.662.68      ·SS,091.99      $8,9,0.C)7    $,t,S-45    !l
04/07/]1                                  $15.00 Fe COSTS                             SU,71.4,61                                            $15.00          5265,662.68      •$6,091 .99     SS,ilS.97
                                                                                                                                                                                                                       rj'
                                                                                                                                                                                                           SoS4S
04/10/17                                         8..,.ICRVPlCY r11.EO                 su.n~.64                                                                                                                         0.
                                                                                                                                                            S26S.66J.68      ·$6,08U9        SB.935.97     $45.4$
                                                                                      $n;n.•.'4                                                             ~-&&2.~          ·S6.09 l.9'J                              0
                                                                                      SlZ,714.6,4                                                           ~.662.68         ~-0~ 1-~
                                                                                                                                                                                             S8.9lS.97
                                                                                                                                                                                             $8,935.97
                                                                                                                                                                                                           S4S.4S
                                                                                                                                                                                                           S4SA.S
                                                                                                                                                                                                                       ....c.o_
                                                                                      !>l2,n~6'                                                                                                                        l 'J
                                                                                                                                                            $265,662.~       •SE:,0:91 .99   $a,j3S 91     $45.4S
                                                                                      SlZ.710.~                                                             $165,662.68      ·$6,091 .99     $a,93 S.97    $45.45
                                                                                                                                                                                                                       t
                                                                                      su.n,.64
                                                                                      Sl2,7lo.64
                                                                                                                                                            S-:!6S.£62.68
                                                                                                                                                            $2'5.~.£11
                                                                                                                                                                             ·$&,Q9 1.99
                                                                                                                                                                             -$6,091 .9!)
                                                                                                                                                                                             $8,935.97
                                                                                                                                                                                             SUlS.97
                                                                                                                                                                                                           W AS
                                                                                                                                                                                                           S4S.4S
                                                                                                                                                                                                                       '
                                                                                                                                                                                                                       '-I

                                                                                      SU.714.$4                                                             $26$,662.68      -$6,09 1 99     S8.9ls.97     $4$.45
                                                                                      SJZ.714.64                                                                                                                       l:J
                                                                                                                                                            $~.65l.6$        ·S6.~1 .99      $8,935.97     $,1$..45    r
                                                                                      S'll,7l4.64                                                           $26$,GQ.58       ·5£,091.99      S8,9lS.97     S4SAS       (/)
                                                                                      $12,714.64                                                            s.MS,1~U8        -S£,O,H .99     S8,93S.$7     $4S.<S      r
                                                                                      SU,7l4.'4                                                             $265,6$2.'8      .$6,(191.99                               ~
                                                                                                                                                                                             $8,!l)S.97    $4$.~~
                                                                                      $l?,7J0.£4                                                            Sl6S,6Q.68       .ss.on.ie       SR,93$.97     $45.45     ~
                                                                                      SU,714.!.-4                                                           $265~63          -$6,091.99      $11,935.97    s.s.,s     :::i
                                                                                      SlJ.1'.i,.;.64                                                        S265,66U8        -$6,£191 .99    $8,935.97     S.CS.45    Q
                                                                                      SU.1lA,64                                                             S.26S,662.68     ·$6,0tl."       S8.93 S,')7   $A.$.AS    0
                                                                                      SU,71U4                                                               S265,6n68        ·S£,()!\l.'9    $S,93Sm       $45.45     n
                                                                                                                                                                                                                      r~

                                                                                                                                                                                                                      ~
                                                                                      Sll,714.'4                                                            $2&5,'62.68      ·% ,£>91.99     $8~5.97       $45.45
                                                                                      su.n•.'4                                                              S26S,662.68      ,$&,Q!ll.99     SUlS.91       $4S.4S     r.,
                                                                                      SU,714.~                                                              S265.6Q.f8       ·$6,091.9,
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     Case:17-13167-MER Doc#:146 Filed:08/24/18 Entered:08/27/18 14:35:03 Page25 of 48
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Case:17-13167-MER Doc#:146 Filed:08/24/18   Entered:08/27/18 14:35:03 Page26 of 48




                              EXHIBIT


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    Case:17-13167-MER Doc#:146 Filed:08/24/18                                                           Entered:08/27/18 14:35:03 Page27 of 48
      cas l                                                                                                               e t     ge 1 t -

                -                                                           --       -                     ·-
    F1ll1 n thi!'. information to identify the wsc:

    O&btOI' 1       Jill Clow



    United S1stes 8311)(,vPlty Court tor the· Disllict ol Colorado

    caso numt»-
                    -17-13167
                       - --------- -----
  Official Form 4 10
  Proof of Clai,n                                                                                                                                                    ()4/16

  R&ad tho lnstruc:tk>n, before flllln9 out this form. Thl s torm Is for making a clalm for payment In a b11nkruptcy CHe. DC> not uw thi, form to
  make a r~ quest for payment of an administrative npenH. Make auch a request acco,dlng t o 11               § 503.           u.s.c.
  Fllars mua1 laavo o ur o, re4aci Information lhet ls eo Olled 10 privacy on !hi$ fo:m or on any all.llCl'led document5 Ansch ~ e d copies of a11y
  documents that suppo11 !/'le clalrn, suc.l'I a$ promissory notes. l)(Jtch~ e orders. invoices , Itemized statements ol 111nn1rig accounts, conttacl$. judgments.
  mortgages, and 9&cwity agreements. Do not tend orig/nat documents; !hey may be do9t/'oyed after scen11119 . II t11e documents are not availeole.
  expli,in in an attachmonl.
 A person who mes a fraudulent claim covld be Rned up lo SS00.000, imprisoned lor up lo 6 years, 0t both. 18 U.S C . §§ 152. 157, and ~71 .

  FUI in all the l nform1tion about t he d&im a!J oflhe datt the caso w as filed. Th11t datii ls on t he notice of bankruptcy (Form 309) that you rocelve d.



                Identify tit• C lalm

1. Who Is IJ'\e current
    credltor'1
                                   MTGLQ Investors LP
                                   Name cf C!le cun&111 crediior (IN! PEl"IO/I o, encily \0 be oa,d fo, tnls ~ml

                                   011>e< names ~ credilor uses, with 11'-e ~~co,        S-=ec:..le: . :n. :.e: :. .c.F..,;.i..,;.
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                                                                                                                                                  L.:..P__________________ _

2. Has this claim b11tn
    acquired from
                                   Gn     No
    r.om.one else?                 0      Yes. from whom? _ _ _ _ _ _ _ __ _ _ _ __ ~ - - - --                                          ---


3. Whore s hould nodcos            Whe,ra should ~oac«is to          Iha c'9ditor b4 sent?                           Where should 1fiymeht1 to the credit.orb&_ Mnt? (Ir
   and paymont.s to the                                                                                              dlff&rentl             · · · ·•         : . · ::
    creditor be sent'?
                                   Selene Finance. LP                                                                Selene Finance, LP
    Federal Rule of                Name                                                                             Nar.11>
    Sankruplcy Procedure
    (FRBP) 2002(9)                 9990 Richmond Avenue. Sui1e 400 South                                             9990 Richmond Avenue, Suite 400 South
                                   Number           Stroot                                                          Number

                                   Houston                              TX                 77042                     Houston                    TX               77042
                                   Cily                                 s1a1e                    7JP Code           City                                             Z1P Coda

                                   Contact phone    877-768-3759                                                    CcnUlctpnor.o   877-768-3759




                                   Uni1om'> ~ im ioen111'er ro, e1ee11onlc poy,nen1$ in chap(er 1 l (If yo..,   use orre):

                                  -- ------- ------ -.•·- ---- ------ -
4 . Does this claim amend         ~     No
    one al roady filod'?          0     Vos. Claim 111,mber on c.oun claims ,ego,cvy(if known)~                                           Fi~ d on   08/21/2017
                                                                                                                                                     WM   I 00    I YYYY



5. Do you know If anyone          ~     No
   ,alaa has flied e proof        0     Yes. Who made the &arlter Mng?
    of claim fOf' thl1 etelrn?




   Official Fonn 410                                                            Proof    or Claim                                                           pego t
    Case:17-13167-MER
      c _s: 1 -i31     Doc#:146 Filed:08/24/18                                                   Entered:08/27/18 14:35:03 Page28 of 48
                     ER Cla 6       e                                                                                     a · of


                Olve lntonnatlon AJ:>oat the ,c1a1m •• of th• Date the Can was Ried

 6. Do you hove any number          Q No
     you usa to Identify Ule        !iZI Y~ . Lasi 4 dlgtts of the debtor's account or any number you use 10 identify lhe debtor. 2                 ..Q__ .1__ _i_
     debtor'?



 7. How much I& the claim?             $ _ _ _ _ __ _3
                                                     ;..0_1_,,_8-'-86--'.99'--.
                                                                         -'     Does this omounc fnclud-0 Interest or other ctutr9es?
                                                                                    0   No
                                                                                    rif Yes   ACUlch sca1emen1 l!emalng fntoresf, lees, erpensas. or ou-,.,
                                                                                              Chatges feQUlred by Barowpicy Rule 3001(cX2l(A).


 8. Whal Is the basis of lhe       E.ample.s : Goods sold. money loan&d, iease,          sarvicos performed. personal Injury or wrongful de-a1h, or credit c.ard.
    cl1im?
                                    Attach redacted copies of any documents suppo'1Jng the dalm required by Bank/\Jp!cy Rule J001(c)
                                   Limit disclosing lnformsllon ltia1 is entitled to privacy, svch es health care inrormaUon.

                                    Money Loaned


9   Is ~It or JM>rt of the claim   QNo
    secured?                       Fil Yes.   The cJaim is sacured by a lien 011 propeny.

                                              Natur e of pro~rty:
                                              (.1{   Real a.slate. If Ille cla im is seoire<I oy Ille debtor's principal ~ idenc.e.   61e a Mongage Proof of Cts1m
                                                                   Artaehmont (Offtdill Form • 10-A) Wittl lt11s Proo/ OI Cltllm.
                                              0      Motor vehicle
                                              0      Otha,. Desctibe:            50655 SEMOTAN OR STEAMBOAT SPRINGS CO 80487


                                              Basis for porlectlon:              Rl:CORDE0 DEED OF TRUST
                                              Att.idl tedacted copies of doaime<11$. lf 3ny, tNr show evidan~ of pamicli011 of a sewr,ty ,ntere&t (for
                                              example, a mMgage. lien. e&flJfic.ate ol tiUe, ftnandng stace~M. or oltler document tnat sMws the lien has
                                              been tiled or re corded.)



                                              Value of property:                                s_ _ _ _ _ _ _
                                              Amoulll oftti& @Im that Is ,oeured:               S_ _ _3_
                                                                                                       0_1"'"
                                                                                                          ,8_8_6_._
                                                                                                                  9_9

                                              Amount at Che Gleim !hat Is un18C\Jred: S_ _ __ _ _ _                        (Tl'l& !Wl1I ol the secuted aod unsecured
                                                                                                                           amounts should m alcll the amount in line 7 .)



                                              Amount neeesl8ry lo Cl.Jra any default a& of the d,to of the patltJon :                  $._ __ _ _4_7c...,7_5_1_._8_8


                                              Annual Interest Re~ (when case was ftted)           3.125 •.4
                                              tYj" Foe.ltd
                                              •      Varlal)le



10. Is this clalm bese-d on a
    leage7                                                                                                                            $ _ _ _ _ _ _ __
                                   0   Yes Amount necessary to cuni anv default es or the date or th& petition.


11. ts thls elalm subject to a     5Zl No
    right of 5ttoff?
                                   0   Yes. Identify Cha p,operty. - - - - - - - --                  -   -   - -- -- - - --                   ~




Official FOl1'TI 410                                                      Pro of of Claim                                                                 page   2
  Case:17-13167-MER Doc#:146 Filed:08/24/18                                                        Entered:08/27/18 14:35:03 Page29 of 48



12. I& au or part of \:he claim        @No
      entitled to priority under
      11 u.s.c. § 507(e}?              0    Yes. Chock on&:                                                                                           Amount •nlltled to i)riorlly :

      A claim may be partly
      priofity ancl panly
                                            •   Domestic suPPort obligations ~nciuding alimo11y and child support) under
                                                11 U.S.C. § 507(a)(1l{A) or (al( 1)(Bi                                                               $------ ~ -
      nonpnctity. !=or exam!lle.
      fn some categories, ll\e              0   Up to $2,850' of deposits toward purchase, tease. or ren1111or property o.r se/'V1~s for
                                                                                                                                                     $ _ _ _ _ __ __
      law JJmits lh~ amount                     l)Erso/UII. famlly. or hou~holo use. f I U.S.C. § 507(a){7).
      enlltled to priority.
                                            0   Wo~e. $alalies, or commiS$/ons (up 1e $12,850') eamcd within 180 days before I.he
                                                oankruo1cy plltilion ii; filed e< lh<I d6btor's business ends. wttichl!ve< Is e8'1ier.              $ _ __ _ _ _ __
                                                11 U.S C. § 507{a)(4)

                                           •    Taxes or oenatties ow&d to governmental units. 11 U.S.C . § 507{a}(8).                              $ _ _ _ _ _ _ __

                                           •    Cono1butlons to an employee benefit plan. 11 U.S C. § 507{a)(5).                                    $._ _ _ _ _ _ __

                                           0    Other. Spedl'y subsection of 11 U.S.C. § 507(a)(__J 1t1111 applies.                                 S_ _ _ _ __ __

                                           • Amouot.s are subjeel to 8dlU:Stmelll Of\ •,Ul/19 ano e\11ry 3 years otter lllal for cases begun on or afw lhe oale ol adjus!mMl




The pers01\ complet.lng            Cm,ck ma app,op,tele l>ox:
this proof of claim must
sign and date 11.                  Q I am lfle CfedllOI.
FRBP 9011(1>).                     Iii' I am me cre<litor's aoomey o< autMnzed agenL
tfyou ~ this claim                 0       I am the Wstee, 0< the debtor. o< their authorized agem. 8a11kruptcy Rule 3004
ele.ctroflically, FASP
5005(a)(2) authorizes oourts
                                   •       I am a guarantor. surety, endorser. or oltle< codebto<. Sankrul)(Cf Rule 300$
to establi$11 local rutes
specifying whet a Sl91\81Vf8
Is,                                I understand that ati authorized sfgnalure on this Proc/ of Claim serves as an acl(now!edgment lhlll wnen catc.vlaUng ltle
                                   amount of the clelm, !tie c,ecti1Qr gave lhe debtor cre<IU for any payments recelved 1owa1d the deb t.
A p.,son wno flies a
froudulant elalm could ba          I have examined lhe information in lttls Proof of Claim and have a reasooable belief that the information is true
f!Jled Up to $500,000,             an<! correct.
impr1soned for up to S
~an;, or both.
18 U.S.C. §§ 1~2, 157, and         I declare under per.art~; lh&I lh8 foregoing is truo and correct.
3571.
                                   Executed on date
                                                            NJJ,,100   I
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                                                                           '('fY'(
                                                                                     J
                                               ~~
                                           Signature

                                   P,int the name of tho person who Is completing and signing ltlls claim:


                                   Name                   PHILIP STUART TRAYNOR
                                                                                                                                    Uetname

                                   n~e                    ATTORN!iY
                                                          MARINOSCI LAW GROUP P.C.



                                   Ad~S
                                                          14643 DALLAS PARKWAY STE 750
                                                          Number            Screot

                                                          DALLAS TX 76254
                                                          Cl1V                                                       State          21PCooe

                                                          972-331-2300                                               Ema~ ecf@mlg•defaulllaw.com




Offleiat Fonn 410                                                            Proof of Ctaim
                                     Case:17-13167-MER Doc#:146 Filed:08/24/18                                                                                  Entered:08/27/18 14:35:03 Page30 of 48




.Mo~~ge Proof of Claim Attachment
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                                                                                                                                                                                                                                     S'nl.49
                                                                                                                                                                                                                                     Snl.4~
Ot(Zl/lA                        $)3.S.4.l            p,- YM€/'IT RECflVF          7/ l(20l.3    Sfl,7811.28     Sl99. 72   $)()cl.SI     S2s-1 61                    -sn:i c9   SJ70.lS3. n         $3 12, 91       $2.03325           $0.00
0 1/28/14                     Sl,:158.~2             PAYMFNT RECEII/F.            8/1/201.)     $1,5.)0. 36     $300.Sl    $70)..78      $254.6)                                S2£9,9Sl.&:l;       $3.9.,,.60      $2.033., ~         SCI O()
02/01/14       Sl.2S8.S2                             PAY~.f.ENT OU£                             SS.789.28
fI)/OJ/14                                     snuo   COUtfN f Al( O,SM
                                                                                                                                                                                SU,9,9SU6           Sl,919.f,0      Sl.03}7S           sooo
                                                                                                SS,7&9.:U                               -$7 1•.40                               S2~.9SU6            S3,16S.l0       SJ,033.2S          SO.OD
02/ ll/ 14                                S\ ,52S.OO Hl\lAAD !NS l'159                          Sll.189.28
02/U / 14                                 $1,271.n HAZARD IN\ OISII
                                                                                                                                       ·Sl,SlS.IXI                              S268,9SU6           $1,740.20       S~033.7S           so.co
                                                                                                SB,789.U                               •Sl,27< .n                               5269.95?.U            S,,!».4)      S2,03J.2S          $0.00
Ol/0 1/)4      $l,2s.8 92                            Plll'MENT OU£                             $10,048.20
04/01/10       S l. ~&.91                            l>o\YMENTOUE
                                                                                                                                                                                $.,(,,9,95 2.Sf>      $,16S ,:)     S2,03US            so.co
O~f2.l/ll.                                    ·SlS 7$ FC rEE.S
                                                                                               Sll.307.11
                                                                                               Sll.,lOY. >2
                                                                                                                                                                                $ ) 69,952.\'16       ~~•      3    $2.0ll.25          so.co
                                                                                                                                                       · SI S. 7S               $ 269,,S286           S46$.0        Sl,011.50          $0,00
O,/tH/14       Sl. ~0 <14                               l>A\'lo!EIH OUl                        Si 2,SS7S6                                                                                                                                        fT'
                                                                                                                                                                                $269,9SU6             ~(:6.4)       52,017.50          $0.00     :0
OS/16/14                                      S"H.~ COUNT'( fAA DISS                           Sl2,5S7 56                               ·$71' 40                                S'26!1,9S2.U         ·$248.97       S2.0\7.SO          $0.00
OS/16/14                                      571 • .40 (Ol.lN'IY IAX OISB                     Sl 2.SS7.S~                              •$714.111.)                             S?6!1.~U6            ,$9&3. P       !";t,017.50        so.oo
0&/01/14       Sl, 2$0.44                               P,WMtN7 out                            sn,aos.oo                                                                        S269,9Si.86          -$96).37       Sl,011.50          $ 0.00
05/16/14                                      5 JUI 00 8K ftE'.S                               S13.808.00                                              poo.oo                   $2~,9~) 86           ·S96J. J7      $2,317.50          S0.00
05/1.5/IA                                       S6oo F' cosrs                                  SJ),800.00                                                 $6.00                 $169.~52,86          ·5963.)J       $l,'.l23.SO        $0.00
0~/2S/J4                                     SUlU l3 re C05fS                                  S13,JOAOO                                              Sl,011.13                 S:i69,9S7.86         ·S963.37       Sl,3 3S.6)         $0.0g
(f7/0J/l4      Sl.!S0.44                                 PAW.Elllf our                         S IS,IISSM                                                                       $.2 69., S2.86       ·S?6l.37       S.).335.6.3        $0.00
07/14/14                                      ) ~.00 BK F£€S                                   SIS,053.44                                                                       S-269.951 .66
07/14/14                                        Sl~.00 PIIOPf kTY U..tSf'[CflON
                                                                                                                                                       S)()!).00                                     ,$953.)J       $3,635.63          so.oo
                                                                                               S)S,OU.44
l)'il/0 1/lA   S l,lS0.44                              PAYM£NT Ol/£                            Sl6, )0a,88
                                                                                                                                                        S1S.ro                  5269.,Sl.86          -S,&3.37       S3,6sti.63         so.o,
03/19/1~
O')/O ii l 4   S.tlSOM
                                              S350.00 8lC Hts
                                                       PAVM(Nl OUE
                                                                                               $)A;,J()8.89
                                                                                               Sl?,SS.9.32
                                                                                                                                                       $3SO.OO
                                                                                                                                                                                S269.~H6
                                                                                                                                                                                $269,9$7.86
                                                                                                                                                                                $ 26'\l,9S2.86
                                                                                                                                                                                                     ,S9&.3 37
                                                                                                                                                                                                     ,$9~ )7
                                                                                                                                                                                                     ·$963 3?
                                                                                                                                                                                                                    $3.6.So.~3
                                                                                                                                                                                                                    S4.000.0
                                                                                                                                                                                                                    $4,000.63
                                                                                                                                                                                                                                       ~00
                                                                                                                                                                                                                                       SO.OQ     '....
                                                                                                                                                                                                                                       $0.00
10/111/)4      $1,lSOM                                 P.A'/MfNl 01./E                         $ 18,800.76                                                                      sw.,~1.u             -$~63 ; 1      S4,00C.6l          $ 0.00
t0/1 4/14                      St.Ot?. 76                PAIITIAl PAYrAfNT                     su.m .oo                                                             s5,011. 16 S269.9s, .ss          ,S9 6l 3J      $4,00-.1.63    $6.02 7.76
10/30/14
11/01/!4       SUS-0 44
                              ·¾ ,OP76                IIMRSAl PAYM(Nl'
                                                      PAYMENl OU(
                                                                                               Sl8,a09.76
                                                                                               Sl0,000 io
                                                                                                                                                                    ·S6.0?.U6 $269.9~2.3&
                                                                                                                                                                              Sl69,9 S2.86
                                                                                                                                                                                                     ·S%i31
                                                                                                                                                                                                     -$963.J?
                                                                                                                                                                                                                    $.4,000.63
                                                                                                                                                                                                                    $11,000.63
                                                                                                                                                                                                                                       ~ -00
                                                                                                                                                                                                                                       SO.OC>
                                                                                                                                                                                                                                                 ....
I 1/0~/14                                     SS00.00 8K (((S                                  $20,060.20                                              ssoo.oo
 ll/18/14
                                                                                                                                                                                Sl69.9SU6            ·$96)3?        s.<l, 500.63       so.oo
                                               SH.CO PAON117V INS!'fCllO~                      s.20,06:l JO                                             SIS.00                  $269,951.86          -Sl>&l.J7      $4,:HS.&3          $00()
U/01{]4        $1.2~0.4'                              .PAYM! NI DUE                            SU.310.6'1
01/0)/15       $\,?.$0A~                              PAYMENr Out
                                                                                                                                                                                S269.SSU6            -$~63.)7       S-4,51$,63         so.oo
                                                                                               S22, Sf.l.08                                                                     $269,9~.8'           ·$9i).37       $4,SlS.6 3         $0..00
01/12/15                                      $3\8 7S FC f£ES                                  s.n,.ss1.oa                                             $3111.)S                 Sl69,SS2.8~          ·SK) .37       $4,834.la          S0.00
0!/01/lS       $l2S0.4-I                                 f>AYMclllt !>llE                      S.Jl..8H,S2
01i0 2{l'>
                                                                                                                                                                                S.2&9,9S2.86         ·SW.3.37       $4,834.38          SO.OD
                                             $1.~7.00 hllZAMD INS OIS8                         s.23..BJ J.5.Z                          ·Sl .~ 7.00                              S269.9SU 6         · SZ,630.37      S4,83<U8           $0.(X)
01/0 3/1$                                      $1$,0C,P~Of'£RTl INSl'l'.CT10N                  S23..81l.S1                                              SlS.00                  Sl69,9S:I."        -$1,6)0.37       $;1,349.33         SO.OD
0l/(>Q/1S                                     Sn& 18 COUNTY lAJ( OISb                          Sll.Bl l .S,                             ·$7li>.J~                               $2&:1,?52.86       •Sl.~SSSS        s~,M,.38           $0.00
Ol/11/15                                      SlS0.00 8l< f£ES                                 $23,Rll. ~7                                             SlSO.OD                  S26S,9!.4 ~6       -$J,'.1'5&.SS    $$,099.)B          $0.00
02(18/JS                                      $300.00 8( f££S                                  S.?3.8ll .S 1                                           $300.0D                  $769,95<!.Mi       , S l ,~!>6.SS   Ss,3'9.38          S0 .00
0J/01/IS       Sl. 1SO.~~                             l'AYMElllf OUf
Ol/13/I S
                                                                                               S2S,061.96                                                                       $'26'),952,86      · S),355.SS      ~S,399.:18         so.oo
                                              •$6'.00 PRQPrnlY INSPECTlO,.                     $2S,06J.%                                               •$$900                   $269,952.86        -Sl,356 SS       $S.3JO.J8          $1.1 00
04/01/lS       SU~0.4ji                                  1>Am1rN1 our                          $)&,l.U.40                                                                       S1'9,9~J.«.        •Sl)S6.SS        SS,330..3$         so.co
 ~ /21/15                     Sl,1SS.92               PA~ENI A(C£IVE              9/1/l0l l    ~s,osus     $301.29          $70).0i)     SH4.6l                                 $169,"5 St.57      ,S3,10l.'J2      SS.~.30.38         $0.0 0
 1>4/>9/15                                            ~IIYM(H r !ICVERS,          9/1/201)     $2$,0Sl.48 •S31ll.l:9       ·S,0).00     -$2$4.63                                $.269,?~2 .&6      •Sl,lS&.S~       SS.3:.0.38         SODl
OS/OVlS        i t ,250 ..W                           PAYMOlfOUE                               $2&,303.9?                                                                       $269.952.66        ·Sl.lS6. ~~      SS,:'30.38         $0.00
lil!,/19/JS                                   sn1u.11 COON TY TAX OISB                         $76.,.303.91                             -$116.lg                                $269,9Q.~          -s~.oa1.13       SS,330.38          $(1.00
 osn6/ts                      S l ,2SW.9 )            PIIYMENf REctM           9/tnoi l S)S,D'S.00              $30 119    $703.011      m,4.63                                 $269,651.S7        -Sl,8.2B 10      SS.~30.38          SO.OD
 0V21l/1S                     Sl.141.t>S              PA1MENI k(C£ 1VE        10/ 1/2013 SlJ..80).92            S302 07    SJC!Ul        s:rn,.7~                               $l69,l49.~         -Sl,S9L3 J       SS,3)0.38          so.oo
 0./01./lS     Sl,2S0.44                                 PAYMrnroue                            HS,OSd ..)6                                                                      SW),J0.50          ·SU')llJ         SS.33038           so.oo
 06/0l/lS                                     $20'.>,00 81:r[(S                                S?~.~4.36                                               $200.00                  $16'1. 349.50      ,Sl.S9l.) 1      SS,!.30.33         so.co
 0./03/lS                                      Sl S.00 PROf'fllTY lh'SHCTIOrt                  S2S,0S4.l6                                               ~IS.00                  S2&9,l49.~         ·Sl.S!>l.31      SS,54$38           $0.00
 0./16/1$                                     s.c 12.so re ~as                                 SU.05~.)6                                               ~u.~                     $2&~. J09 SO       ·S3,S9U I        SS.9P,8.9          $ 0.00
                           Case:17-13167-MER Doc#:146 Filed:08/24/18                                                                  Entered:08/27/18 14:35:03 Page32 of 48


0(,/)6/J.S                                  Sl2.00 fC COSTS                                 SZS,0S0..3'                                            S12. 00   Sl69.349.SO        -S3,S9J ll     $5,969.68       S0.00
06{V./15                                            PH MENT ltMRS,            10/1/2013     S2S,0!,1;.J&    -5302.07     ~70?.22      ·S2)~79                S289,6St.S7        ·S3.82UO       SS.969.68       SC.00
OWU/U                                               PAYMENT RE\'l;RS,          9/1/'lOll    Sl 5,0S4.36     -$301.29     .$703.00     ·Sl14 63               S2&9.951..66       -S4.os2:n      S5.96!>A8       SO.Oil
06/2 ~/ 15                 Sl,2~8.92                PAYMENT RECEIVE            9/U2013      m,79S.4-4        S30J.29      $703.00      S2S4.63               $2~.65157          ·$3,818..10    SS,969Jl8       SOOO
06/l~/JS
0&/1.11/lS
                           Sl.2S8.92                PA'l'MfNI
                                                    PAYMENT REV(AS,
                                                                              10/ 1/2013
                                                                              10/1/200
                                                                                            SU.536.S-l
                                                                                            S22.S36.S?
                                                                                                             $302 07
                                                                                                            ·5302 07
                                                                                                                          $702.21
                                                                                                                         ,$702.22
                                                                                                                                       SB6.79
                                                                                                                                      -Sn6.79
                                                                                                                                                             S2G9.349. SO
                                                                                                                                                             S2&.l,6Sl. S7
                                                                                                                                                                                -S3. S9l.3J
                                                                                                                                                                                ·Sl.828.LO
                                                                                                                                                                                               SS.969.88
                                                                                                                                                                                               SS.969.88
                                                                                                                                                                                                               S0.00    ....
                                                                                                                                                                                                               $0.00
06/24/H                                              PAYMENT R(V(I\S,          ?/1/201.l    Sl1,Sl6 Sl      ·S30J.29     ·SI0).00     ·SZS4.63               5269.951.86        -$4.082.73     SS.969.118      so.oo    I-'
01/0L/U       $1.250.'4                              PAYMENT OU[                            SB.786.96                                                                                                                   l.J
07/01/1.S                  Sl.258.92                 PAVMEN T IW:EIVE          9/.1/2013    SU.5211..04 5301 .29         $70).00       52 S0 .63
                                                                                                                                                             5269.952.86
                                                                                                                                                             526'.6SLS7
                                                                                                                                                                                ·S4.08l.73
                                                                                                                                                                                ·SJ.828.JO
                                                                                                                                                                                               SS.969.88
                                                                                                                                                                                               SS,969.68
                                                                                                                                                                                                               so.oo
                                                                                                                                                                                                               SMO
                                                                                                                                                                                                                        .....
07/07/lS                   St.2SB.91                 PAYM["' I IIECU\IC       10/1/lDU      Sll,l69.ll S302.07           5702.2}       $.l36 79              Sl69.349.SO        ·S3.S91.31     S5.969M         S0.00
01/01/U                    Sl2Rll                    PAYMENT RECCIV(          ll/l /20ll    SZ0.017.00 $302.86           s1ou1         $241.8.3              SlGS.0-16.£.4      -S3,34:l.48    $5,969.811      so.oo
07/14/H                                              I\EVfRSAl PAYMCt         ll/l/20ll     Sl'0.017.CIO -002 86         -$701.41     -S,14},8)              Sl69,3"9.50        -S-l,S9l.3J    SS,969.&&       sooo
07/M/lS
07/1 4{'\5
                                                     I\EVCI\SAl PAVMCt
                                                     I\EIIEflSAl PAYMEI
                                                                              l0/l/l013     S20,017.00 -S)(>2.01         ·S10l.2l      ·$236.79              Sl69,6Sl.S7        -S3.B2i.l0     SS.969.88       S0.00    .,.,
                                                                               9/l/Wl3      Sl0,017.00 ·$30U9            -S70300       -$2.S'-63             Sl69,95Ul6         -$4,()8) 73    SS,!>69.88      so.oo
f1f/10/L5                  Sl,2'>8.92                PAYM( lll Rl:((111£       9/l.120ll    S18.753.08 S:101 29           S701.00      $254.63               S269,6Sl .!,7      •S3,i21l.l 0   SS,969 88       SO.DO
07/20/ l S                 Sl,258.92                 PAYMENT RCCEM            1D/l/20U      $17,499 16 $302 07            $702.22      S2J6.7!>              5269,349. SO       •$S,S9 Ul      ss.969.88       so.oo
01/lO/LS                   SUSS.92                   PAYMENl A(CEhlE          ll/l/20B      Sl6.14014 S30l.86             S701.43      $217.83               5269.046.6-1       -SU4lA8        SS,969 88       SO.DO
07/UJJS                                    SSJS ..\O FC COSTS                               $16.240.24                                             S53G.JO   Sl 6,9.()4.6. 64   ·Sl,343.48     S6,S06.l.8      so.oo
00/01/H       SlZSOA•                               PAYMfNl      oue                        Sl7 .•90.6.8                                                     S26'J,046.64       -Sl,l43.A8     S6.S06.16       S0.00
fn/17/LS                                            RE\'V'SAJ. PAVM(f         ll.ll/20ll Sl7,49tl.68 -$307..86           -SlO l 13     ·5247113              s.269,349.~        ·S3.S91.l1     S6, S06 I&      S0.00
o~/17/lS                                            REVERSAi. P.t.YMH         10/l/2013 Si7,490.68 -SlOl.07              -$702.22      ·S23&.1'9             S769,&SI S7        ·Sl.828.10     S6.S06. l6      so,oo
09/17/15                                            IUVfRSAl PAYM[t            9/1/1013517,490.'8           -S30l.29     •S703.00      -S2S4.63              S26',S52.&6        ·$4,::ln.73    56,506. 18      S0.00
08/17/l S                  $ l,}!,8,92              PA.YMENl R[C(1VE           9/l/2013$16, lll 76           S30l.29       $703.00      S2S4.1>3             52f>9,6S l. S7     -Sl.SU.:O      S6.S06.l8       Sl>.00   i-t7
114/)7/15                  Sl.258.9?                PAYMENT RECEIVE           10/1/1013$14,9H.&4             $307.07       $701.l?      $236.79              S2.89.349.SO       -Sl,S91.31     S6.S06. 1&      S0.00    0.
08/17/ 1S                  Sl,2St!.92               PAYMENT I\ECEII/£         11/1/2013Sll.71Hl              $302.86       $701.43      S20.83               5269.046.64        •Sl. 34:ua     S6,S06.18       S0.00    I-'
08/ 17/J S                                          IIM l\$1\C.. PAYMH        l l/lJ201l
                                                                                       $13,71).92           -$302.86     -S70l .ll     •S2• 7.83             S26'U49. SO        ·5l.S9J.3l     $6,506.18       so.oo    ~
08/1 7/1~                  Sl,2S8.92                 P1<VMENT RECEIVE         11/1/2013SU .4SS.O~            S302..86      $701.43      $247.83              $269,046. 64       ,$), 343.0 8   S6.506. 18      .>000
                                                                                                                                                                                                                        C-1
08/18/H
08/18/IS
                                                     R~WPAYMEt
                                                     11£VVl5.AI. PAYMtt
                                                                              J 1/1/2013
                                                                              10/1/2013
                                                                                       511.45S..OO
                                                                                       $11,4!.S.OO
                                                                                                            ·S-302.86
                                                                                                            -5302.07
                                                                                                                         .5101.1)
                                                                                                                          -$102.!2
                                                                                                                                       ·S2H.83
                                                                                                                                       ·$236.79
                                                                                                                                                             S2~.349.SO
                                                                                                                                                             S2~.6SI.S7
                                                                                                                                                                                ·S3,S91.31     56.506. !8      50.00    -
                                                                                                                                                                                                                        I- '
                                                                                                                                                                                                                        t ,...,
                                                                                                                                                                                ·S3.!128. 10   S6,S06.1B       50.00
08/IBt'lS                                            IIEVE/IW PAYMO             9/>/?013
                                                                                       SUASS.00             -$301 .7')   ·5103.00      -S.Z54.63             S269,9S7.ll6       -S4.08.2.13    S6,S06.l8       so.oo
C./18/1S                   Sl,lSll.92                Pl,'/lll(NT I\ECl l\1£     9/1/2013
                                                                                       Sll ,lc;&..OS         S-301-29      5703,0ll     S2S4.63              S269.6SJ.S1        ·Sl.1128.J O   S6,S06.18       50.0 0
 lle/18/lS                 $1.1S8.92                 PAYMENl REC£1\/f         10/1/1013 $9.937.16            $302.07       $702.22      5236 79              SU,9,349 50        •Sl.S9L31      S4,S06.18       SO.OD    C
 Ol/18/lS                  Sl,258.92                 Pl<Yl<IENT RECllV(       w 1n.ou   Sll,67!1.24          $302.86       }701.U       Sl,.7.83             SUd.lMG.64         -S3.343.C8     S6.S06.l8       S0.00
 09/0 1/1$                 Sl,ZSB.92                 PAYM£NI IIECElVE         12/l/20U  S7.419 l2            S'!OHS        SI00.64      S2S4.63              $268,7~2.99        -Sl,088.&S     S6,S06.18       S0.00
 09/01/ IS    $1,25044                               PAYMENTOV£                         $8,669.76                                                            $268,7~2.99        -$3,OBUS       S6,S06.J8       S0.00
 09/ld/l~                                   -saoo re f£ES                               $3.66~.76                                                  -$28.00   S268, 742 99       ,$3,088.S,     S6,478.l8       S0.00
 10/0l/l S     51,~0.•4                              PATMCNT OUE                        59.920.io                                                            s.268.,42 99       •Sl..oaaes     $6, ..78.18     so.oo
 1on111S                   Sl 2S8.92                 PATh1£NT RECOVE           Vl/20!4 SS.&.il 28            5304.44      5699.85      S2S4.63               $.268,438.SS       ·Sl..lll4.2Z   $6, .. 78.18    SO.OD
 UJOL/lS      Sl.lS0.4'1                             PAYM ENTOV(                              S!>,91\   n                                                    SZ6B.~Ja.SS        ·$2,&34.2.2    S6,4 7a.J8      so.oo
 ll/Ol/tS                  SJ.1SS9>                  Pl'YMENT l!EC(IIIE        2/1/2014      ~8,652.80       S305.2l      $699.06      S254 63               Sl68.ll.D2         -S2.S79.5'1    S6,478.IB       $0.00
 11./01/IS     SJ.2S0.4C                             PAYM(t<liOUE                            S9,90H4                                                         S268.l33.l?        -$2.57'9.59    $1,, 4711. UI   S0.00
 12/30/IS                  St.2S8.92                 PAYMENT RECEIV~           3/I/Wl 4      S8,6S4.l2       S306.0J      S&93.l6      SU4.&3                $267,827.19        ·Sl,324.96     $6,478.18       S0.00
 01/0l/l&      $1,1$0.41                               PAYMElll OUE                          S9,e,.a..76                                                     S267.&l7 29        ·SU2Q.96       S6,478.18       so.oo
 02/01/16      $l,2S0.44                               PAYll.lfl\ll OUi                     $11,145.20                                                       ~267,827.29        -$1.324.96     $6,478.1$       so.oo
 02/02/16                                 S l6'i'.1.00 1-1112.ARO INS OISB                  Sil, l4S.10                           ·S1,61i9.00                $267.827.2.9       ·Sl,99l.96     $6,478.18       so.oo
 02/()11/16                                  $7:16 .06 COUNTY TI\X OlS8                     $1 1.14S.20                             •S726.06                 SZ67,8U.2'         -s,;,11.0.02   S6,478 l8       SO.OD
 111/26/16                  Sl,2!.11.92                 PA'IMENT RCC'EhlE      4/ J/201•     $9,886. 18      SJ06.82      S697.47    S2S4.63                 S267,S20.47        ·S4.46\ 39     S6.A7A 18       sooo
 03/01/16      suso.«                                   PAYMENT our                         $11,136.72                                                       $267.$20.47        ·>4,~S.39      $6,4 13.16      so.oo
 04/0l/16                   $1.1\8.92                   PAYM(J.IT ACC(IVE      S/1/Wl•       S9,e n .ao      S307.62      S69H7         S2S4,6l              $267.lU.~          -$-Q,210.76    S6,478.IB       S0.00    t'l>
 04/0)/lf,                  SI..IS0.4•                  MYMfNl A((fl~          f,/)/101 4    $8,61B6         ~30(1.4t     56'.lS.87     S246.IS              Sl66,90<1.4l       ·$3.96'1.6)    $6,478.lB       .$0.00   O!
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                          Case:17-13167-MER Doc#:146 Filed:08/24/18                                                         Entered:08/27/18 14:35:03 Page33 of 48


OS/Ol/16     $1)50.t'                          PAYMfN I OU£                           $8,627 36                                                                        $1&6. 185.J.7   ·S3,4lUI        S6,478 .18
OS/10/16                               SBS0.00 601 ES                                 $8,621.36                                             ~350.00                    $26&,28.>.17     ·Sl.47231      S02S.18
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05(l)/l.£                              $726.06 COUNTY TA~ DISS                        $8,627.36                              ,$ 77.6.06                                $>.&6. 28S.17   •$4, l!19 .37   S7.H8 ,a          $0.00
OS/18/IG                  Sl,2&4.2•            PAl\ilAl PAYlwlt'NT                    $7,363.U
05(11/16                                        PAYMHH RKHV[              9/l./20U                                            $2•6 .JS
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06/0V16      H ,2SDµi                           PAYMENT DUE
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07/01/1,     SJ..ZS0.'4                        PAVMEIH DU€                           $9,S64.00                                                                         S2~.'74.l3      ·S3,9S2.22      $7,323. 18       $1).80      1-' •
08/C>V16     51.1S0.•4                         PATMltH OUE                          Sll,114,44
08/08(Jf,
                                                                                                                                                                       Sl6S,974.33     .$3,9S2 2l      s1.na.1a         $13.80
                                                PAYMENT lllCIIVI          10/1/l0l4 Sll.lM,41          S-31U.S   $m .64       $2<6,l>                                  $)65.662.68     · $3,706,07     $7,32&.18        Sll.80
09/01/16     S1.,>.G08                          PAYMENT DU(                           s12..nu2                                                                         S26S.66}.68     ·Sl.706.07      $7,328.18        $1.J.80
09(1(,/lf,                             S942.79 ~c costs                               SH,376.82                                             $9•2 79                    S26S,66U.$      ,$).706.07      $8.270.97         SH .80
10/0l(lt.    Sl,l6U8                            Pl>.YMENl OUE                         SU,643.20
10/l V l 6                                      R(VUISAL PAYl,10
                                                                                                                                                                       $76S,'61 68     ·Sl.706.07      S8,270.'l7        $1.1-80    rr
                                                                          10/1/201•   SU.643.20 ·SllL6S          ·S692.64    ·S2•6.IS                    SUSQAc        $2£,S,974.33    ·Sl.9S2.22      $8,l70.97      $l)G4 .l4
10/11/16                                        PAYM£NT REC.f:Nt          10/1/2014   $13,64120 $311.6S          S892 64      Si•&.LS                   ·$ 1..lS0.4<   S2£S,GGUI?      ·S3,,06.0 7     ss,no.97          Sl.l.80
Jl/0Vl6      Sl,26U8                            PAYMENT OVE                           Sl~,907,SS                                                                       S265,6£2.68     -$3,706,0)      $8,270.97         Sil.BO
ll/Ol/16     Sl,16<.lS                          PAYMENT OIJE                          Sl6.l 1t'l6                                                                      S26S.661.68     ·Sl.706.07      $8,270.97         $1.UO
U/l!l/16                               SS.SO OO 8!( fffS                              S l 6,17t%                                            S6SO.OO                    sm,662.68       · SU06.0I       $8,920. 97       Sll80
01/01/)7     SJ,264.JS                           PAYMENT DO£                          $17,<136.)4                                                                 S26S.~2.G8           ·Sl.706..01     $8,920.97        Sl3 80
Ol/13/11                              $1 ,64$.00 H/12'.ARO INS O!SB                   Sl7,C36,)'I                           ,S l ,64,.0 0                         Sl &S,662.611        -SS.3SJ .Dl     ~ ~.97           .Sll..80
02/0l/17     Sl ,2608                             PAYMENl DU£                         SUl.700. 7J                                                                 S26S.~.68            ·SS.351.01      sa.920.,1        Sll.80
0l/06/17                               S 740 in   COUNTY TAX DISS                     Sl6,700.n                              ,$7«1.91                             $26S,667 68          ·$6.o9L9'       $8,920.97        Sil BO
02/2l/17                                          PARf lAL PA~I\IIEl'fr               Sl\1,700.72
Ol/Ol/17     Sl,21:iOS                            PAYMENl OU€                         $ 19,96~10
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~/01/17      Sl,264.11!                           PAYMCNTOUE                          $.21,229.<13                                                                $26S,662.68          · $6,091.99     S.S,910 9 7      mus
0./07/)7                                 S IS.00 ~C COS r;                            SH.229 4t                                              S l S,00             S2GS,66:t6'8         ·S&.09199       S8.9~S.97        $S9.2S
04/10/17                                          l?ANXRVl'TC'H ll[O                  $2).22').48                                                                 $26S,6J;1.68         ·$6,cr.lJ .99   SB.'llS.97       $59.2S
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                                                                                      Sll..2l9A1'                                                                      $265,6'>2.68    ·S6,09U9        S8,93S.97        $59'2$
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                                                                                      S.U.2294'                                                                        $26S,&6.l.68    -$6,091.99      $8,93S.97        $59.25
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                                                                                      QJ.229~                                                                          S26S,662.&S     •S6,0'l!.99     S8.9JS fJ7       S.S9.2S
                                                                                      S::U.129.43                                                                      $266,662.68     -S6,0'31.99     S8.93S.97        $S!US
                                                                                      SitU29l~                                                                         S26S.662.68     ·$6.091.99      S8.93S.97        $59.25
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                                                                                      $21.229.4&                                                                       $265,662.68     •S6,00l .99     S8,93S.97        S59.2S
                                                                                      S2U19,4&                                                                         S16S,66l S8     •S6,0'J1 .99    $8,93$.97        SS9.l.S     ......
                                                                                      Slt,U9.•'8'                                                                      $ 26$,662.68    -S6.o!IJ .99    $8.9lS 97        $59~
                                                                                      $ll,U')."8                                                                       $?65,!>62.64    ·S6.09J 99      $8,93$,')7       $ 59.25
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Case:17-13167-MER Doc#:146 Filed:08/24/18                                                                 Entered:08/27/18 14:35:03 Page34 of 48

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                                        FIXED/ADJUSTABLE RATE NOTE
            (LfBOR 0 11&-Yeu Index (As PubJlsbed bl 17r~ Wall Simi Jou.ma/) • Rate Caps)
                 TIOS NOTP. PROvtD~ FOR A aLUfGJ! ~ MY F1XEJ> IN'l'l:RES'T RATE TO AN
                 ADJl:STABLE INTER.EST RATE. THIS NOTE UMrTS TBF. AMOUNT MV
                 ADJ1'STAB1f. JNT&RESf RATE CAN CUAi'fGfi AT Alli' QNE TIM!:: A..-.'U TUE
                 MAXOO!M RATE I MUST l'AV,

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    who Ix to1i1I~ 10 ~ ~'lllrnll unclcr Lh~ No!c'" c:ilk:d lbc 'No~ Holdu, •

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              r Will pl)' pt~q,al IDd ir.~ by ltlltinJ ... ~ every lllWllh.
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    otb:r ~ dcscdbed lldow Ulill J ,my o._-e u • lhl, Nolt- Ea:!> -lhly pll)1mll " ,11 be applied u c( iu
    s.:b:dllk:d dlllt ~ =1 o,l,lJ be ~Um 10 Imm.st befim, PrtDcq,al. IT. on                 Jola.rer. l                             •
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    tho ·Maurlry Dare •
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    \>ayTMDt l'rooe•s~g                                                   or II a 4il'fcNic P'- Ir i:cqu!Rd by ii..- >;.'I< Holder.

             (JI) Antovnl or Mr lnlthll Manlbt!         hr=t>
             .Eathofmy llli1iol :nocl!:!y ~yaumu        -..,!! ~ 14 lbc uno\AIII of I.J.S, S     1 , 737 . 119                • Tbil
    am'NJll !my CN.'lft.
             (C) Manlhl;, \vmmt Clumgcs
              ~ ill 1t1Y IDOWII) paymc:nl wlU re1'"' cbel1&C i.o lh• ll"f"''4 J)nl\Cipal of 'lll'J loao M1ll Ill lbe
    i!llt10! AU: lb.u I l!llll( piy. 'fl:c Note Ha.Ider will dc-!ermille ray 11(111 inlffllll raw mid lllt: d,anpd - of "v'
    moolht, pa)ro= in U100ldm:lt wU.h Section 4 oi this ~

    o4. ADJT'STAlJte QfffRE.q llATE AND '10.VI'ID..Vl'AYMXNTCHAJliGE-S
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    ii dlo lYCI'~ of intablclt afl'md         =
             8¢ilmlbl Wl'. b 1!, e tlt$I Cwiso ~ . ll';) tdjua,b!c i=re.t !ale v,\U tit ~cd Oil «I lndti, 1bc • t:m •
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    ( '\.IBOR"}. 1$ fllbllsllcd Ill Tl, : IVatl Sutct J ~ . The tQCdl r,c,r;,:QI llldoe,t flJUC"' ...nablc"" ot lbc dart 4S
    dtys bd'ore e-.ch C1mje I>.ue ls ctlJed Ille "Cum:;\ ~ . •

             I! Ille ~ if llO 1oc;,r 1Y&Jlab!e.. lb.t Sotc lfoi<k,- wW ~                       t M IV !D,lc,i wht,'1   h 1,"""1 Upt!R
    C'Ol!lpanblc lnfonmtiocl. Tho~ HDl4tr 11.iUJi,n; l'DC 110l#. ol 1b.11chob.
Case:17-13167-MER Doc#:146
                     r I   Filed:08/24/18                                                             Entered:08/27/18 14:35:03 Page35 of 48

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                 (Cl Cakulol!Oll ot O>qt$
               BQr»,c c-=rn Clwl.ae Dato. 12:o Nol.r .Hald.er wW ~ rr,., at:W lmc:ai rm tJy addicJ
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     lm,1(:!.(                  equal l)a)'l'lll:llt,. The r~t of lllll CIIQllailn will be cbc o;c-w - cl my rnoatblf
     ~)'lncnJ.
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                 The UU.,lt':ll llllc I. 1111 ~ Ital co pay al lh& flm CJunp Dale ,;olJI 110C be &raid llwl ll. 750               I
     or Im than           2 . 7 50               \\-. 1llffl::lttcr, ~ fl\lN'dl TIie wlll . .u be la.:ttUcd CT <1iocttu.cct OIi ~y
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     prru:diJIC lZ moolb.s. My Olleoect rare WU.I neva bf grmtcr lllJ111                  10. ne               "i.
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                 (F.) Eft'e,ctlff D.r!e ot Chu,J'd
                 My PCW ~ rate will ~ Cfl'talllC oa ~ Cliaic D~e. I t,iU fHlll tile -                                 of my ntw
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    IIIOlllbly parxnc:nl ch&ng« >gm.
                 CF) Notice al Ow,:ai
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    .and Ille IIIJDll.'ll of fJJ1 OXlellJy p ~t bc!ort lht c:ffi,crt.. date: o! my ch.ago. The nNl:e ,.Ill in.Jude ll>c
    a:'mollllC o! my OlOllllllr 1)2)1IJC'IU, my lftfonnlljoo A:q~Rtd by Jiw to be 1\vcn IO mt Jnd allo Ille tlck 11111
    lc:!fl)IIOlle 1IWl:llcf of a penoc ,.fio ,..Ill IIISWCr all)' q ~ l ,nay 1ta,c rcprdlot ll!o no:.k!;,

    .S. BOBROWER'S lUGBT TO PRF.J'A ¥
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    only !lo UlO'f.'D .31 • "Pr?pa)meal. • Vl'hca f mM1: a l'tqllYtl)t'l\l, I wlU tril th,: Nu,,: Holder !.ti wntllla !bl J ,m
    4oina IO, I m.y OGt dtsipe J J»yiml &S I l'n!pa)'IJ'ISll. 111 tu•r ,a ~ Iii Ille IDOO.thly p.l)mtOIS due wx!cr
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     Holda w'JI ua.! Ill)' i'n:pa)IJICllU LO rellvce ~ ~ of PrlA:ipal 1h11 I oc-.. 'lllllkr this Note. 1i.,..<'<'I°, "Ole
     NOie Helder my apply Ill)' 1'1-.pofual ro th, ac.:I\IOJ Jl\d v:,pa!d llllet«f on Ille ~ I lllll1tlDII before
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       Case:17-13167-MER
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                             EXHIBIT


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         Case:17-13167-MER      Doc#:1466 Filed:08/24/18                                                  Entered:08/27/18 14:35:03 Page39 of 48
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 Fill in this informati on to identify the case :

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Official Form 41 0
Amended Proof of Claim                                                                                                                                                     04/16
R1tad the Instructi ons before till]ng out this ,f orm . Thia form il,s for m.iki ng a claim for payment In a bankruptcy eau. Do not use this form to
make a ~equest for payment ol an admlnlstrath 1 0 G'XS)ft,n se. b11:1ke aueh a rcq1.1$SI according to 11 U.S.C. § 503.
Fliers. must leave out or redact inforrr.at1on that iS entitled tc privacy on this form or en any attached documents. Auach redacted copies of any
U'.)CUlflen'ts that SUPO<YI the claim. such as promissory 11ot~. putchase orders. Invoices. 1tem1?ed statements of 11Jnn1n9 accounts. contracts. 1ud9ments.
rnortgages. and security agreements. Do not send orlginal doc•umonts; they may be destroyed after scanning. If the documents are nol available,
explain In an anachmenl.
A 1pe1,son Wf'\o /iles a fraudulent claim could be fined up to SS00,000, imprisoned for up to 5 years, o r both 18 U.S.C. §§ 152. 157. and 3571

l=ill in all !he Information about the cla im as o( the d.:lle the case wa.,; flied. That date is on th o notice of bankrvptcy(Form 309) that you rece ived.

11111111. Identify the Cla im
  1.     Wl:lo le the current
         cr&cfltt,r?                   MTGLQ IN\IESTO.RS, L.P.
                                       Name ol lhe CUflefli c,editor (lhe pe1son 0 1 entitY to be Pfl•d for this cta1m)

                                       Oij,er names the creditor used wllh tl>e debtor
  2.    Has this clalm been
         acQulred 'trom                @ No
         someone elso1                 0 Yes. From whom?

  3.    Where should                   Where should notices to the creditor be sent?                                Where should payments to the credito, be sent 1 (If differenl)
        notlcu end
        payments to tt\8               Selene f inance. LP                                                          Selene Finance. LP
        c:redllor be sent?             Name                                                                         Name
                                                                                                                    Atin· BK Oep1.
        Federal Rule of                9990 Richmond Avenue. Suite 400                                              8990 Riehmond Avenue. Suite 400
        IBankruptcy l'roceoore
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        (FRBP) 2002(Q)

                                       Houston, TX 77042                                                            Houston . TX 77042
                                       City            State                      ZipCP<le                          City             State                 Zlp Code
                                       ContaGtphone 877-735-3637                                                    Cont.ac.t pl\o11e 877-735-.3637
                                       <Antac1emaa                                                               Contact email
                                        Unifo<m cla:m idenlifler for ele,tronic pay,nents In chapter 13 (if you use one):


                                           -------------------------------------------------------------
 4.      Does th is claim                                                                                                             Filed on ·12/01/2017
                                       0 No                                                                                                           MM /00 I YYYY
        .ltmend orM> already
                                       181 Yes.    aaim "umtler on court dalms regsty (ii known) 6-2
         flied?
 5.      Oo you k/\OIN If
         anyone else has               !ZI No
        flied a -proof of cl-elm       •   Yes.        Who made the earlier filing?
        for 'lhls clatm,




Offidal Form 410                                                              Proof or Ctaim                                                                               Page 1
          Case:17-13167-MER
                    -.-L -:::"- . Doc#:146
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                                                                                                                             Page40  Jf . of 48

-              Give Information About the Claim as of the Date the Case W as Flied

    6 . Do you have any         O No
      number you use to         181 Yes   Last 4 digits of the debtor's account or eny number you use to identify the debtor: ~       Atty Fil e#: 17-017225
      Identify the
      debtor?


    7. How much is the         $301,857.43                                                     Does 1h18 amount include Interest or other
       claim?                                                                                  charge6?

                                                                                               0No
                                                                                               (gl Yes. Attach s tatement itemizing interest. fees. expenses,
                                                                                               or o<her charges reciuired by Bankruptcy Rule 3001(c}(2)(A).


    8. What Is the basis       Examples: Goods sold. money loaned, lease, seNices performed, personal injury or wrongful death, or credit card Anach redacted
       of the claim 7          copies of any documents supporting the claim required by Bankruptcy Rule 3001 (c).
                               Limit disclosing inlonnatlon thal is entitled to privacy, such as health care information.


                               Mon9a9e Note,Loan




    9. Is all or part of the   O No
      claim                    181 Yes.    The claim is secured by a lien on property.
      secured?
                                           Nature of proper1y:
                                           181 Real estate.   If the claim is secured by the debtor's principal residence, file a Mortgage Pr~of of Claim
                                                              Afrachment (Official Fonn 410-A) with this Proof of Claim.
                                           O  Mo1or vehicle
                                           0  Other. Describe:
                                           50655 SEMOTAN DRIVE, STEAMBOAT SPRINGS. CO 80487




                                           ea sis for perfection: Deed of Trust recorded at office o f Cieri< ano Recorder
                                           AtlaCh redacted copies ol documents. if any. that show evidence of perfection ol a security interest ( for example, a
                                           mongage, lien , certiHca te of tiUe, financing statement, or other document that shows lhe lien has been filed or
                                           recorded .)



                                           Estimated Value of properly:                    S_ _

                                           Amount of the claim that is secvred:            ~301.857.43


                                           Amount of the clalm that Is unsecured: $_ _ _ _ __ _ _ _                                 (The sum of the secured and unsecureo
                                                                                                                                    amounts should ma tch the amount in line
                                                                                                                                    7)


                                           A.mount necessary to cure any default a& of th& date o1 the petition:            $4 7,722.32




                                           Annual Interest Rate (when case was filed) 3.125%
                                           0 Fixed
                                           0 Variable

 10. Is I his claim            ~ No
    based on a lea~?
                               • Yes. Amount necessary to cure any d6fautt as of the date of the petition.                  $._ _ _ _ _ _ __

11. Is this claim              @No
      subject to a right
      o1 setoH?                0   Yes. Identify the propeny; - -- - - - - - - - - - - - - - - - - - - - - - - - - - - -




Official Form 410                                                      Proof ol   a -,,m                                                                           Page 2
         Case:17-13167-MER Doc#:146 Filed:08/24/18                                                    Entered:08/27/18 14:35:03 Page41 of 48



   12.   Is all OT p~rt o f tho   ~No
       claim entitled to          0      Yes. Ch&cksUlh111appty                                                                                  Amount entitled to priority
       priority under 11
       u.s.c.  § 507(8)?
                                                                                                                                                 $ _ __ _ _ _ _ _ __
                                         0   Domesuc support obhga11ons (indudlng alimony and child suppon) under
      A claim may be panly
      pr!onty and partly                      11 U S.C. § 507(aXIXA)or (a)(1)(B ).
      non~nonty. For                                                                                                                             $ _ _ _ _ _ _ _ __
      e-xample. in some                  D   Up to S2.850' of deoos,ts reward POrchase. lease. or rental of o,ope,tv or
      categories. the Jaw
      rim,ts tt'le amount                    service1; lor personal, fam ly,   o: hous~old use. 11 U.S.C. § 507(a)(7).
                                                                                                                                                 $_ __ _ __ __
      onDtJGd 10 pnorily.                0   Wages. sala ries. of commiss10ns (up to $12,850· ) eamea withm 180 da~
                                             before the banlo.r1.,ptcy pett<1on is liled or the deb to(s business ends.
                                             whichever Is earlier 11 U.S C. § 507(a)(4)
                                         0   Taxes or 1>¢n1>lhes owed to governm ental unn s. 11 U S.C § S07(a){8).                              $ _ _ _ _ _ _ _ _ __

                                         0   Conlflbul!ons to an employee benefit plan.11 U.S C § 507(a)(S)                                      $ _ _ _ _ _ _ _ __
                                         0   Other Specify subseclton of 1 l U.S.C § 507(a)(                       ) that applies.               $_   _   _   _ _ _ _ __

                                          Amounts are sub1ec.110 ad1uJtmen1 on 4/01119 arid every 3 years after that for ea,es 1>e9un 011 or altar the ~te or a<ljusunet11


                Sign B•low
  The person complollng
  this proof of claim must
  sign and dat• IL
 FR8P 901 1(b).
                                  0 I am       the creditor
  If you tlte this claim
 elec1ron 1cally. FRBP            L'8l   I am lhe creditors attorney or authonzed agent
 5005(a )(2) aulhor~es
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 signature ts.

 A peraon who ·mos a              I understand that an aulhon2ed signa1ure on this Proof of Claim serves as an acknowledgment ll'l al when calculaling
 fraudulent claim could           the amo unt of the claim . the e<editor gave tho debtor cred,t 101 any payments recelved tOMHd the debt.
 b e fined u p to $500,000,
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 years, or bolh.                  correct.
 18   u.s.c. §§ 152, 157,
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                                  Print t he name of t he person who Is completing an d signing this claim:

                                  Name                     Nicliola.~ H. Sanum;lli 11a6592
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                                  Title                   Attorney for Creditor


                                  Company                 Jilfl$way Law Fiqn, r .~ ~---,----,-,--
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Olfioal Form 4i 0                                                         Proo! of Claim                                                                                       Page 3
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                                            Case:17-13167-MER Doc#:146 Filed:08/24/18                                         Entered:08/27/18 14:35:03 Page44 of 48

ot/01/IS      St.JI0.4'1                                M TMlNIOIJI                               Sl8.9SS.l 6                                                                        sz,a.,ow        ,Si.OSUS      s,.5'0'.u       Sl.257"4
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~111,         Sl.2S0-'4                               •AYMt.UTOUt                                 SlM»->1                                                                            Sl~UIS.17       ,$3,All.ll    SC,478 IS       SU .!5.-<S
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~/13/1'                                      S) 16.0S COV!fJY r'IX DIS&                                                                       ·S116.o,                               S~66,IU. J7     -S4.19B l7    S7 ,l'l8,lJ     Sl,,25.• S
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Case:17-13167-MER Doc#:146 Filed:08/24/18                                                              Entered:08/27/18 14:35:03 Page45 of 48




                                                    FIXED/AD.rtl~TABLE RATE NOTE
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Case:17-13167-MER Doc#:146
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           8.   r.,vrxc o.F trnc£S
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